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                                                                                    r

 1   Billie Rene' Frances Lillian Powers                              ~'~         "': "'
     P.O. Box 1501                                                     ~               ~.''.~
 2   Newport Beach, California 92659                                   ~~                   N
     949-374-4052                                                      `~V,~-`r,~ °{
 3
     Plaintiff Pro Per                                                     :~~-~
                                                                               ..,-- ~'
                                                                             ~~-~
                                                                                     ~~.4
 4
                                                                            ~A       ~~        O
 5
                           UNITED STATES DISTRICT COURT                      ~i         ~ ''
 6                        CENTRAL DISTRICT OF CALIFORNIA
                           SOUTHERN DIVISION —SANTA ANA

 8

 9    Billie Rene' Frances Lillian Powers   Case No. 8:17-cv-01386-DOC-KES
                   Plaintiff,
to                 vs.                      Assigned to
it                                          District Judge: Hon. David O. Carter
     THE BANK OF NEW YORK                   Courtroom: 9D
IZ
     MELLON F/K/A THE BANK OF
13   NEW YORK,AS TRUSTEE,ON                 Assigned Discovery
     BEHALF OF THE HOLDERS OF               Magistrate Judge: Hon. Karen E. Scott
14
     THE ALTERNATIVE LOAN
15   TRUST 2007-HY9, MORTGAGE               VERIFIED FOURTH AMENDED
16   PASS-THROUGH CERTIFICATES              COMPLAINT
     SERIES 2007-HY9; SELECT                CONSPIRACY; VIOLATIONS OF
l~   PORTFOLIO SERVICING,INC.;              HOMEOWNERS BILL OF RIGHTS;
18   BANK OF AMERICA,N.A.;                  PROMISSORY ESTOPPEL; BREACH OF
     MORTGAGE ELECTRO1vIC                   CONTRACT; UNFAIR COMPETITION LA
19
     REGISTRATION SYSTEMS,INC.;
Zo   CONIMONWEALTH LAND TITLE
     COMPANY; JON SECRIST;
21
     NICHOLE CLAVADETSCHER;
22   THOMAS PEPPERS; and DOES 1 to
23
     10, inclusive,                         DEMAND FOR JURY TRIAL
                    Defendants.
24

25

26

27

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                            1
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 i   "Plaintiff apologies to the court for the length ofthis brief, but she believes she has
 2
     no choice given her disadvantage in the court system as a pro per. Plaintiff had to
     show the merits, she may lack procedure but she does not lack evidence supporting
 3   her claims and prays this will get us to the jury where it belongs for damages.
 4
     Plaintiff is perplexed as to why she is having to repeat the evidence when the
     Defendants themselves claim zero knowledge ofthe origination ofthe contract in
 5   question, but stand in the courtroom claiming a right to file documents attaching
 6   them to it and use said contract uttering false claims to take property. They
     distance themselves from the liability, but still want to unjustly benefit regardless
     ofthe merits ofthis case proving they have no authority or standing to do so. This
 8   is not a frivolous claim, there is nothing frivolous about being made homeless and
     sustaining severe injuries as Plaintiff has. Please see the merits and overlook
 9
     procedural mistakes as Plaintiff has done her diggity dog best."
io
11
                                        JURISDICTION

12   1.      The United States District Courts shall have original jurisdiction of all civil
13
          actions where the matter in controversy exceeds the sum or value of$75,000,
14

15        exclusive of interest and costs... pursuant to 28 U.S.C. § 1332(a). This Court
16
          has jurisdiction over the subject matter ofthis action pursuant to Section 22 of
i~
          the Securities Act, 15 U.S.C. § 77v, 19 U.S.C. § 1331, and 28 U.S.C. § 1331.
18

19   2.      The claims asserted herein arise under and pursuant to Sections 11, 12(a)(2),
20
          and 22 ofthe Securities Act, 15 U.S.C. §§ 77k and 770, and 771(a)(2), 19
21

22        U.S.C. § 1331.
23
                                               VENUE
24
     3.      Venue is proper in this District pursuant to Section 22 of the Securities Act
25

26
          and 28 U.S.C. § 1391(b)and (c). Many of the acts and conduct complained

2~        herein, occurred in substantial part in this District, including the dissemination
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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 i        and recording of Documents, which contained material misstatements and
 2
          omissions, claimed of herein. In addition, Defendants conduct business in this
 3

          D1StT'1Ct.
 4

 5                                DEMAND FOR JURY TRIAL
 6


 ~   4.      Right to Jury Trial; From 50 F.3d 966, 30 U.S.P.Q.2d 1292, 33 U.S.P.Q.2d
 8
          1406,33 U.S.P.Q.2d 1907 In re Lawrence B.LOCKWOOD,Petitioner. Misc.
 9

10        No. 394. United States Court of Appeals, Federal Circuit. Jan. 11, 1995.Order
11
          Declining Suggestion for Rehearing In Banc Jan. 11, 1995.Opinion Dissenting
12

13        from Denial ofIn Banc Rehearing filed by Circuit Judge Nies Feb. 7, 1995...To
14
          determine whether a particular action resolves legal or equitable rights, we
15
          examine both the nature ofthe issues involved and the nature ofthe remedy
16

i~        sought. Specifically, the test for statutory actions involves two steps:
18
     5.      "First, we compare the statutory action to 18th-century actions brought in the
19

zo        courts ofEngland prior to the merger ofthe courts oflaw and equity. Second,

21        we examine the remedy sought and determine whether it is legal or equitable in
22
          nature."
23

2q   6       "Chauffeurs, 494 U.S. at 565, 110 S.Ct. at 1345 (quoting Tull, 481 U.S. at
25
          417-18, 107 S.Ct. at 1835-36); see Ross v. Bernhard, 396 U.S. 531, 538 n. 10,
26

27
          90 S.Ct. 733, 738 n. 10, 24 L.Ed.2d 729(1970). 5 Thus, if a particular action

28

                       PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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 1        entails either the adjudication of legal rights, Tull, 481 U.S. at 425, 107 S.Ct. at
 2
          1839, or, alternatively, the implementation oflegal remedies, Curtis, 415 U.S.
 3

 4
          at 195, 94 S.Ct. at 1008-09, the district court must honor a jury demand to the

 5        extent that disputed issues offact concerning those rights and remedies require
 6
          a trial." 6 ...

 8
     7.    "Granfinanciera, 492 U.S. at 41-42, 109 S.Ct. at 2790. "The second stage of
 9
        this analysis [i.e., remedy] is more important than the first." Id. Additionally,
to      both steps must be satisfied. Teamsters, 494 U.S. at 565, 110 S.Ct. at 1345("we
li      examine both the nature of the issues involved and the remedy sought"); Tull,
        481 U.S. at 417, 107 S.Ct. at 1835 ("the Court must examine both the nature of
12
        the action and of the remedy sought"); Curtis, 415 U.S. at 195, 94 S.Ct. at 1009
13
       ("a jury trial must be available if the action involves rights and remedies of the
14      sort typically enforced in an action at law")"...
15
                                            PARTTF4
16
     8.         Billie Rene' Frances Lillian Powers, in propia persona, Plaintiff as Real
i~
18        Party of

19
           Interest and Holder in Due Course, has been injured by the acts and omissions
Zo
           ofthe named Defendants, in concert with others yet to be named and
21

22   identified,
23
           seeks damages and relief, from the damages caused by Defendants;
24

25
     9.      THE BANK OF NEW YORK MELLON F/K/A THE BANK OF NEW
          YORK,AS TRUSTEE,ON BEHALF OF THE HOLDERS OF THE
26        ALTERNATIVE LOAN TRUST 2007-HY9, MORTGAGE PASS-THROUGH
27        CERTIFICATES SERIES 2007-HY9; SELECT PORTFOLIO SERVICING,
          INC.; MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC.;
28

                       PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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 1          BANK OF AMERICA,N.A.; COMMONWEALTH LAND TITLE
            INSURANCE COMPANY;JON SECRIST;rtICHOLE CLAVADETSCHER;
 2
            THOMAS PEPPERS and DOES 1 to 10, inclusive,
 3

 4       10.    Defendant THE BANK OF NEW YORK MELLON F/K/A THE BANK OF
 5
            NEW YORK, AS TRUSTEE, ON BEHALF OF THE HOLDERS OF THE
 6

            ALTERNATIVE LOAN TRUST 2007-HY9, MORTGAGE PASS-THROUGH
 8
            CERTIFICATES SERIES 2007-HY9(`BONY"), at times relevant to this
 9
            complaint is an alleged New York corporation, doing business in the County of
10

it          Orange, State of California.
12
         1 1.   Defendant SELECT PORTFOLIO SERVICING,INC., at times relevant to
13

14          this complaint is conducting business in the County of Orange, State of
15
            California and is the alleged Mortgage Servicer ofthe purported contract.
16
         12.    Although previously removed by Court Order of September 19,
17

18          2018,QUALITY LOAN SERVICE CORPORATION is at times relevant to this
19
            complaint, and is doing business in the County of Orange, State of California,
20

21          as Trustee.

22
         13.Defendant BOA,N.A., at times relevant to this complaint is in name a National
23
            Association bank doing business in the County of Orange, State of California.
24

25       14.    Defendant MORTGAGE ELECTROr1IC REGISTRATION SYSTEMS,
26
            INC., at times relevant to this complaint is not registered with the California
27

E~•~1

                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                              5
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 i         Secretary of State, nor at the time ofthe alleged CONTRACT,BUT,the entity
 2
          is doing business in the County of Orange, State of California.
 3

 4
        15.     Defendant COMMONWEALTH LAND TITLE INSURANCE COMPANY,

 5         at times relevant to this complaint is doing business in the County of Orange,
 6
          State of California.

 8      16.     Defendant JON SECRIST, an individual, at times relevant to this complaint
 9
           was doing business in Orange County California as a corporate notary for Bank
Zo
~~ ~      of America.

la      17.     Defendant rTICHOLE CLAVADETSCHER,and individual, at times
13
          relevant to this complaint, is doing business in the County of Orange, State of
14

15        California, as a Certifying Officer of MERS,a known robo signer. The
16
          National Mortgage Settlement Case with whistle blower Lyn Szysmoniak listed
l~
18
          CLAVEDETSCHER as a verified robo signer.

19      18.      Defendant Thomas Peppers. Plaintiff is not aware ofPeppers whereabouts.
20
              Plaintiff adds Thomas Peppers as a defendant at the demand ofthe Court in the
21

22            September 19, 2018 order. If he is not included Plaintiff fears the complaint
23
              will be rejected, but due to a court order that settled matters with Peppers and
24
              Plaintiff in February 2012, Plaintiff agreed to release him with prejudice from
25

26            any claims arising from his fraudulent taking of her title in October 2009. He
27
              returned her title and they settled as agreed. Respectfully, Plaintiff believes
28

                        PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                     6
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i        forcing Plaintiff to add him was an error, which violates Plaintiffls first
2
         amendment right of contract between two private parties, without third party
3

 4
         interloping. During the March 2018 court hearing Steven Dailey, alleged

5        lawyer for The Bank of New York Mellon as Trustee, told Judge Carter that
6
         Thomas Peppers had bought Plaintiffs home, after being forced by Judge

8        Carter to verify that as a fact Dailey returned to say that Peppers was not in fact
 9
         on title. Peppers has not been on title since 2012 and Plaintiff has no need
io
it       known to add him as a Defendant.(See E~ibit "R")

is                                 STATEMENTS OF FACTS
13
      19.On or about April 13, 2007,Plaintiff executed a document known as a
14

15       Residential Purchase Agreement and Joint Escrow Instructions respecting my
16
         intended purchase ofthe Subject Property, known at the time as 40701 Ortega
l~
         Highway, San Juan Capistrano unincorporated, California 92675. Plaintiff
18

19       maintained sole possession and lived upon the land and home subsequent to the
20
         purchase through the filing ofthe Federal Case in this matter.(now Plaintiff is
21

22       aware that the actual purchase agreement is for Private Residential Real
23
         Property)
24
      20.West Coast Escrow handled the escrow.
25

26    21.In the process ofthe purchase, on or about April 17, 2007,Plaintiff received a
27
         document titled "Additional Escrow Instructions" from West Coast Escrow.
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                7
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1        The instructions indicated that title was to be vested in BILLIE RENE
2
         POWERS solely.(see E~ibit "E")
3

4
      22.On Apri126, 2007, the Seller executed the Original Grant Deed naming

5        Plaintiff as the sole grantee. Thereafter, it was delivered to West Coast Escrow.
6
      23.On May 15, 2007, an Addendum to the Residential Purchase Agreement was

8        prepared indicating Plaintiff as the sole buyer.
 9
      24.On May 29, 2007, Plaintiff received 2 documents from West Coast Escrow
10

~l       both of which were titled "Escrow Modification". neither ofthese documents

12       had any names other than BILLIE RENE POWERS as buyer.
13
      25.Sometime between June 1, 2007 and June 15, 2007,Plaintiff was advised by
14

15       Countrywide/purported Lender that i no longer qualified for the prospective
16
         loans and that a co-signor was necessary. At that time, OVER A MONTH
17
         AFTER the Grant Deed was executed and notarized by DeLong through notary
18

19       Gannon, my brother-in-law and my sister, Louis J. Hanson and Jacqueline M.
20
         Hanson agreed to co-sign.
21

22    26.At closing, on July 2, 2007,the Grant Deed was recorded which is a materially
23
         altered version ofthe Original Grant Deed. The Fraud Grant Deed was altered
24
         to remove the Plaintiff's name and then insert, the names "Billie Rene
25

26       Powers","Louise J. Hanson", and "Jacqueline M. Hanson".(See E~ibits "B"
27
         and "G")
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                s
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 9 of 100 Page ID
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1     27.The Hanson's asked to be taken off title right after escrow closed. On July 10,
2
         2007 a new title was recorded excluding them and putting into Plaintiffs LLC,
 3

 4
         Rancho Sonata LLC ,created just to hold property.

 5    28.Prior to August of2014,Plaintiff attempted to contact Nancy F. Ganzon,the
 6
         notary who notarized the Original Grant Deed and whose signature and notary

 s       stamp appear on the Fraud Grant Deed. At that time she was a stranger to
 9
         Plaintiff.
io
11
      29. Sometime in August of 2014, Plaintiff was contacted by the notary, Nancy F.

12       Ganzon,through Facebook message returned. On or about August 27, 2014,
13
         Nancy F. Ganzon executed an affidavit wherein she testified that the grant deed
14

15       was a Fraud Grant Deed, bearing her signature and notary stamp, is not the
16
         document that she notarized, but instead is an altered version ofthe one she
i~
         notarized.(See E~ibits "B" and "G")
18

19    30.On June 27, 2007, Plaintiff autographed the purported 1st DOT on what she
20
         believed to be her own behalf and on behalf of Louis J. Hanson and Jacqueline
21

22       M. Hanson via 2 powers of attorney.(See E~ibit "A"). The Fraud Grant Deed
23
         and the 1st DOT were recorded sequentially on July 2, 2007 as document
24
         numbers 2007000417170 and 2007000417171.(Plaintiff was not aware that
25

26       she was also attorney in fact for BILLIE RENE POWERS and did not find out
27
         until years later that the autograph as done was not legal, Plaintiff should have
28

                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               9
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 10 of 100 Page ID
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1         autographed all as Billie Rene' Frances Lillian Powers as attorney in fact for
2
          BILLIE RENE POWERS. Steven Dailey agreed in his documents to the court
3

 4
          that Plaintiff is not BILLIE RENE POWERS,and does not identify as such but

5         she does claim to be DBA BILLIE RENE POWERS.
6
      31.In November 2007 Plaintiff paid offthe Countrywide Heloc of $170,000.00,

8         which accounted for 10% of the initial down payment. A reconveyance of
 9
          deed of trust was recorded, but no original documents were returned to Plaintiff
to
11
          as required.

12     32.On or about January 2008 Plaintiff made contact with Countrywide to seek
13
          assistance following identity theft and theft of bank account, the representative
14

15        gave her instructions that Countrywide would only discuss assistance if she
16
          was 3 months delinquent and to stop making payments to discuss options.
l~
       33.On or about June 5, 2008 Countrywide caused to be filed the first Notice of
18

19        Default. Multiple notices of default and trustee sales were recorded and
20
          rescinded between 2008 and 2010 prior to the assignment caused to be
21

22        recorded in October 2010 that Plaintiff was given award ofthe notary bond for

23
          my fraud claims.(See E~ibit "H"-"K")
24
       34.On or about the end of October 2008 Plaintiffs roommate in the guesthouse
25

26        contacted her saying he let a man in the house who said he was the new owner.
27
          He told Plaintiff the man's name was Tom. Plaintiff was shocked a man was let
28

                    PLAII~TTIFF'S VERIFIED Fp►URTH AMENDED COMPLAINT
                                              10
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 11 of 100 Page ID
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 i        into the home while she was gone without her permission and the roommate
 2
          said he was intimidated as the man had paperwork showing him on title.
 3

 4
          Plaintifffound that on or about October 2008 an illegal Trustee sale was

 5        conducted through Val-Chris Investment stating it was on behalf of Thomas
 6
          Peppers, the Second Trust Deed Holder. Thomas Peppers had contacted

 8        Plaintiff, he said he was aware she must not have known ofthe foreclosure as
 9
          he noticed all her things were in the house and nothing was moved, it was
to
11
          obvious her family was still living there. Though she was not late or had no

is        notice ofthis event a sale was conducted. Plaintiff gave proof ofthe illegal
13
          conduct and Val-Chris Investments reversed the sale and gave title back to
14

15        Plaintiff.
16
       35.On or about October 2009 another illegal foreclosure, illegal foreclosure sale
l~
          #2, was held by Thomas Peppers, second trust deed holder, through Val-Chris
18

19        Investments. Plaintiff did not find out about this event unti12010, she
20
          subsequently filed a lawsuit upon an unlawful eviction foreclosure sale for the
21

22        fraud upon the court and prevailed in February 2012. Thomas Peppers
23
          reconveyed title back to Plaintiff. The second trust deed held by Peppers was
24
          settled as agreed and a reconveyance of deed of trust was filed from Thomas
25

26        Peppers to me. Countrywide told Plaintiff that Peppers attempted and requested
27
          to take over the purported first trust deed she purportedly had but they would
28

                       PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               ~1
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1        not allow a takeover when possible fraud or misrepresentations were present. i
2
         have many emails showing these exchanges.(See Exhibit "R")
3

 4
       36.From 2008-2010 2 modifications were done to the purported DOT,though

5        Plaintiff was not on title from October 2009 to February 2012, or the month of
6
          October 2008, and was forced to autograph documents while not on title.

8        Plaintiff used her Power of Attorney for Louis Hansen, but without Jacqueline
 9
         Hanson included or lose her home. Plaintiff told the representatives/agents of
io
ii        BofA/Countrywide that modification was not legal as she had no ability to do it

12        until she got her title back from Peppers. One cannot be in default to an entity
13
          or someone they do not owe. Plaintiff was forced to autograph or be kicked out
14

i5        of our home.
16
       37. On October 26,2010, the Assignment ofDOT was recorded purporting to
i~
          assign the 1st DOT to BONY as Trustee. The Assignment ofDOT was
18

19        purportedly signed by Nichole Clavadetscher in her capacity as a Certifying
20
          Officer of Mers. The Assignment ofDOT was purported to have been
21

22        notarized by Secrist, whose notary commission number is 1893949. This was
23
          done following several Notice of Defaults and Foreclosure Sale dates prior to
24
          this "creation" of an alleged assignment.(See E~ibits "H"-"K")
25

26     38.On or about February 2010 Plaintiff called the BofA bank customer service
27
         following the cancellation of a bk filed in 2010. She was worried about
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                12
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 1       foreclosure and was told due to Bankruptcy and discharge of debt from my bk
 2
         in 2009 they could not ever foreclose though the foreclosure department
 3

 4
         wanted to. The reports to credit agencies by BofA show this to be the case and

 5       showed "settled as agreed" January 2009. Plaintiff was also told that BofA was
 6
         aware ofthe Countrywide Hustle, lack oflegal standing to proceed due to

 8       misconduct and other material issues/defects in the documents that create a
 9
         lack of standing or worthiness of creditor standing to foreclose.
io
it    39.On or about November 16, 2012, Plaintiff initiated a claim with the Notary

12       Bond Company, who provided a notary bond for Secrist. Through her claim,
13
         she alleged that the signature for Nichole Clavadetscher on the Corporate
14

15       Assignment ofDOT was not genuine, she was a known robosigner, and
16
         therefore, Secrist's representation on the notary acknowledgement, made under
i~
         penalty of perjury, that Nichole Clavadetscher personally appeared before him,
18

19       was false, among other material facts to my claim. Plaintiff also claimed that as
20
         a BofA bank employee Secrist could not be the notary if in fact he had stocks
21

22       or shares in the company because he would have a financial interest in the
23
         taking back of any perceived asset to the company ledger. In the letter she
24
         received from the Bond Co asked her for more information to substantiate the
25

26       claim, which she provided. Therein, Bond Co stated that it only paid actual
27

28

                  PLAII~+TT~F~''S VERIFIED FOURTH AMENDED COMPLAINT
                                               13
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i        damages with proof of claim and that policy limit was $15,000.00.(See
2
         E~ibits "H"-"K")
3

 4
      40.On or about December 6, 2012,Plaintiff submitted a written "Proof of Claim"

5        to Bond Co respecting my claim. On or about February 27, 2013 (after nearly 3
6
         month time to investigate its liability) Bond Co paid Plaintiff the full policy

8        limit of$15,000.00 in settlement of my claim.(See Exhibit "K")
 9
      41.On or about 2012 Plaintiff began Title insurer claims with Commonwealth
io
it       Land Title Insurance Company to assist me to stop the theft of title. She was

12       denied numerous times but in 2014 FNF as attorneys for Commonwealth
13
         agreed to hire an attorney for easement issues. The attorneys would not help
14

15       with the Forged Grant Deed or Landlocked title policy as they said it would
16
         mean suing themselves, she would need separate counsel. Although her policy
i~
         proves the Title insurer had to help with the material alterations of documents,
18

19       at or prior to the escrow closing title, or due to the lack of easement she had
20
         the door for such slammed in her face by Commonwealth. She did not get what
21

22       she paid for in title insurance. Plaintiff attempted to seek separate counsel but
23
         -she did not have the funds to do it and as it was going against a very large Title
24
         ~ampany the attorneys wanted a big retainer, though she was told that she
25

26       must try at least 3 times to get them to follow the policy as it was standard in
27
         the industry that all claims are to be denied 3 times.(See E~ibit "T")
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                14
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 1    42.On or about Apri12012 Select Portfolio Servicing Inc. purportedly became the
 2
         servicer ofrecord. Plaintiff was not aware of what that meant at the time, but
 3

 4
         was still in belief that Bank of America held responsibility to the purported

 5       account. The purported loan number was changed to an "account" number at
 6
         that time and Plaintiff started inquiring about the validity ofthe debt collection

 8       activities against me by SPS et al. She never received answers that were
 9
         accurate or held full disclosure of items needed to validate their claims, in fact,
io
11
         what they sent were the documents of fraud i proved, for instance the

12       Corporate Assignment ofDOT that she won notaxy bond claim on and the
13
         Forgery/materially altered Grant Deed.
14

15    43.During the year of2012 to present numerous notices ofthe forgeries, identity
16
         theft, counterfeit securities, misrepresentations offacts and questions of
i~
         validity of debt to the entities of BofA,BONYM,Countrywide, their affiliates,
18

19       representatives and associations were made. The agencies and departments of
20
         law enforcement and governing departments offinance, CFPB,OCC,FDIC,
21

22       Treasury, banking, servicing. All attempts to give remedy to the underlying
23
         factors of potential fraud in the contract. Plaintiff gave what amounts to
24
         pleadings and begging-of assistance to stop the trespass and theft against her
Zs
26       family home and remedy the matter outside offorcing her into court. Claims
27
         were sent to Commonwealth Land and Title for title insurance to assist. The
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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i        public servants have breached their duties to her for not investigating, for
2
         knowing ofthese crimes and allowing them to continue, for not protecting my
3

 4
         property, life, estate or Private Residential Real Property. Public Servants

 s       knowingly let crimes continue. Over the years evidence has emerged that the
6
         agencies willfully allowed illegal foreclosures as the settlements for fraud and

8        financial crimes were paid out to the United States for the very essence ofthe
 9
         claims held by homeowners who have been victims ofthese crimes but not
to
11       protected.

12    44.On or about October 12, 2012 Plaintiff made contact with the Orange County
13
         field office ofthe FBI. The lead agent for the FBI mortgage fraud task force,
14

15       Thomas Reitz, said he would take any evidence of fraud recorded into the land
16
         records from me,she gave him the evidence ofrecording fraud. In 2014
l~
         Plaintiff was attacked by OC Sheriffs in the OC County Recorder's office at
18

19       which time Reitz found she had given a declaration to a private investigator.
20
         Reitz demanded to speak to investigator Jack Suttie at which time Suttie found
21

22       Reitz had not done any investigation and literally laughed off her claims. Suttie
23
         told Plaintiff he was shocked at the lack of investigation and the unprofessional
24
         treatment she received.
25

26    45.On or about March 2013 the Attorney General Kamala Harris of California's
27
         office agreed to investigate 18 cases of contract fraud gathered and presented
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               16
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i         by CJ Holmes of"Home Owners For Justice". The purported deed oftrust ate-- ..
2
          other recorded documents attached to her estate, home and property were
3

4
          included.

5      46. In the month ofFebruary 2014 Plaintiff spoke directly with Los Angeles
6
          Deputy Attorney General David Peyman regarding the lack of investigation of

 a        the 18 cases full of robosigners, now called "The California 18". He advised
 9
           her that it only took one piece of fraud to make the contract void, per contract
io
ii         law.(Law of Voids)He advised that no more proof would be needed and to

is         take the first evidence ofthe contract breach and not continue going down
13
           rabbit holes for further breaches. At this time it was found no investigation was
14

15         done as promised by the AG Kamala Harris's office. Peyman said he would

           forward Plaintiffs claims to the OCDA but could not promise any assistance
16

17
           from them.
is
19      47.On or about February 2014 Plaintiff participated in the live television
20
           interviews of "The California 18", conducted by "Second Thought
21

22         Productions" in Santa Maria California by William Wagener. Evidence was

23
           presented of void contracts of California homeowners with false claims by debt
24
           collectors, robo signing, forgeries and documents fraudulently recorded into the
25

26         county recorders offices. This California 18 video link is Candace, member of
27
           the California 18, 38 year retired banker giving evidence of proof. Her
zs
                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 17
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1         testimony is heard here: https://www.youtube.com/watch?v=1DCwvVsKskE
2
          The rest ofthe California 18 interviews are linked here.
 3

 4
          https://www.youtube.com/watch?v=Cm80aVPYtIc

 5     48.On February 28,2014, a Substitution of Trustee, purporting to substitute
 6
          Quality Loan Service Corporation ("Quality") as a successor trustee to the

 8        DOT Trustee was recorded. Recording was done in Riverside County. This
 9
          document held a 2013 statement that Plaintiffs home was not owner occupied.
to
ii        Plaintiff had lived on her home since closing July 2, 2007 up to the excessive

12        force lock out on Sept 21, 2017.
13
       49.In March 2014 Plaintiff did an audit and reconciliation of records as the
14

15        Custodian of Records. (See Exhibit "X")This document was notarized and
16
          lawfully served/sent to BONYM et al and numerous governmental agencies
i~
          and law enforcement. Plaintiff was attacked in the land records office
18

19        attempting to file these documents and the identity theft paperwork from the
20
          IRS. Plaintiff was refused filing, laughed at and attacked. See this link for the
21

22        story online: hops://scannedretina.com/2014/03/25/orange-county-ca-
23
          recorders-office-incident-report) (the audio deposition ofthe incident may be
24
          available upon request)
25

26     SO.On September 25,2014, a Notice of Default on the 1st DOT recorded July 2,
27
          2007, was recorded against Plaintiffs property. This is one of many filed over
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                is
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 19 of 100 Page ID
                                       #:5544



1         the years and as the Defendants, their representatives and assigns had in their
 2
          possession the proof of invalid claims against her this NOD was intentional and
 3

 4
          malicious to steal my title and possession of my home, private property, land

 5        and life.
 6
       S l.On or about November 2014 Plaintiff filed a document #2014-000511460 into

 8        the Orange County Land Records. This document rescinded all previous
 9
          documents, held a UCC-1 statement and was notarized and Defendants all were
10

11        legally noticed ofthe filing. The Orange County Counsel previewed the

12        document and gave permission for the document to be filed. No rebuttals were
13
          given by Defendants, no lawsuit filed to rebut the documentation.
14

15     52. In Apri12015 Plaintiff ran a legal publication in the newspaper regarding proof
16
          ofthe forged grant deed and other legal issues affecting her home, previous
1~
          filings and affidavits unrebutted by Defendants, her DBA of record her estate
18

19        and heirs from the false claims ofBONYM et al.(See E~ibit "C")
20
       53.In July 2015 Plaintiff recorded a Notice of Default, Document
21

22        #2015000362976 filed in the orange county land records, against the Bank of
23
          New York Mellon et al for failure to cure the fraud and settle the void contract
24
          through rescission demands i made and proof of my evidence given in affidavit
25

26        form and multiple legal notices. The Legal Publication herein was included. A
27
          writ of Tort was included for 15.3 million dollars by treble damages ofthe 1.7
28

                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                19
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i         million dollar purchase price of3 issues, 1. forged grant deed, 2. landlocked
2
          property, 3. void assignment per notary bond won. Although there were many
3

 4
          more documents uttering fraud that could be added she chose those 3 as the

 5        foundation of damages for the breach of contract and cause for rescission. All
 6
          parties were noticed by registered mail and leading up to the day of credit bid

 8        through registered mail, fax, email and phone. There was never a rebuttal ofthe
 9
          NOD or facts i presented, they did not file a lawsuit, Defendants proceeded non
to
11
         judicially with fraud upon the land records they recorded.(See E~ibit "D")

12     54.On September 30,2015, a Notice of Trustee's Sale was recorded. The NOTS
13
          purports to avoid requirements to foreclosure based on the property not being
14

15        owner occupied, that is nonsense and Plaintiff had maintained possession ofthe
16
          property and lived on it since closing July 2, 2007 and through the excessive
i~
          force swat team lock out of Sept. 21, 2017. Under CAL CIVIL CODE 2953
18

19        any contract purporting Non Judicial Foreclosure is void. Plaintiff gave many
20
          notices of cancellation and void. The NOTS is not valid, there was and is no
21

22        lawful beneficiary of"Lender" as Holder in due course.
23
       SS.On or about October 1, 2015 Plaintiff made contact with Judge Goethals of the
24
          Orange County superior court. She called his clerk asking for assistance fearing
25

26        the OC sheriff department. Judge Goethals had been taking the Siffand DA
27

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               20
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 21 of 100 Page ID
                                       #:5546



 1        to task for not being honest in a murder case and Plaintiff hoped for help. His
2
          clerk took my number.
 3

 4
       56.In 2015 it came to Plaintiffs attention that the contract uttered by the cell tower

 5        company leasing on her property was a forgery. The company damaged a
 6
          drainage pipe in about 2013 on our property through passage and she gave a

 8        cease and desist until they corrected their actions. An attorney for their
 9
          company sent her a contract she had never seen and it was an obvious forgery
~o
it        due to notary dates being done before the contract date. Plaintiff would not

12        allow passage until a real contract was negotiated and filed, but they sued and
13
          were given an easement without a contract or her present in court.
14

15     57.On October 7, 2015 Plaintiffs land was attacked at gun point by the Orange
16
          County Swat/helicopter without any warrant, done under the guise ofkeeping
l~
          the peace, to escort a cell tower employee onto my land. Although she has
18

19        never Neatened any LEO and has had an Officer Pena agree to do a citizen's
20
          arrest for her ifthere was any further trespass by the cell tower company.
21

22        Officer Pena was aware Plaintiffs ranch hands carried a weapon but was also
23
          aware they were not a threat, only used as protection from predators. But, when
24
          another deputy got involved, Deputy Theis, the sheriffs were no longer helping
25

26        stop the trespass. The sheriff claimed the property was foreclosed upon and the
27
          bank owned her home and we were noted as tenants in wrongful possession.
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 21
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                                       #:5547



 i       (Sheriff Hutchens was notified by me in emails and calls to her office ofthe
 2
          terror and fear Plaintiff has for the OC department she leads, with claims of
 3

 4        gang stalking as they had begun riding in cell tower vehicles helping the cell

 5        tower employees trespass.) The Sheriffs forced Plaintiff to allow entry through
 6
          a road she do not have easement upon, Los Robles. Plaintiffs Electric lines

 8        were cut and we were without water or utilities due to the fraud upon our land
 9
          that day.(Plaintiff had many problems with excessive billing by SCE to the
to
11
          tune of $$$$THOUSANDS in excess that took years to settle)

la     58.On October 7, 2015, as OC Sheriffs warrantless swat team action continued,
13
          Plaintiff called Orange County Judge Goethals office again and was directed by
14

15        his clerk to send him a letter, as he could not speak on the phone to her,
16
          regarding the threats and problems she was facing with the OC Sheriffs, illegal
17
          foreclosure, forced illegal easement and fraud upon the court. Judge Goethals
18

19        layer read this document in a closed/Dark court with no Plaintiff, Defendant or
20
          her present.
21

22     59.On October 15, 2015 Plaintiff was called by Orange County Detective
23
          Catalano and they spoke ofthe warrantless attack on her property October 7,
24
          2015 and the illegal foreclosure actions and accountability oflaw enforcement
25

26        to stop crimes and be accountable for damages in the event crimes were
27
          ignored.
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                22
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                                       #:5548



 i     60.On or about November 17, 2015 at a public Board of Supervisors meeting,
 2
          Orange County Supervisor Todd Spitzer directed county counsel to reach out to
 3

 4
          the District Attorney's office. Spitzer promised that he would have the DA

 5        Real Estate Fraud division look into Plaintiffs claims through DA Investigator
 6
          Megan Wagner, specifically named, and a man named just Peter by Spitzer.

 8        The DA did not respond as promised. Plaintiff accepted all Board members
 9
          oaths and bonds as their contract to assist against the fraud stealing homes.
10

i~        Audio ofthis is available.

la     61.On or about February 29, 2016 Plaintiff had a third party authorized agent,
13
          Keith Pillich, hold a scheduled meeting in Utah with Select Portfolio Servicing
14

15        Inc. This was the second in house meeting where original documents were to
16
          be produced, though they were not. The meeting was to inspect what they said
i~
          was the original wet ink signature documents. After 2 hours of back and forth
18

19        in the office, with Plaintiff on the phone and texting with Keith, Scott Hansen
20
          attorney for SPS and other reps ofthe company failed as no original documents
21

22        could be produced as promised and Scott Hansen told Keith Pillich to have

23
          Plaintiff make contact for settlement negotiations. The only documents are
24
          digital/alleged copies and stored on their computers.
25

26     62.On or about March 2016 Plaintiff opened an escrow with Shamrock Escrow in
27
          order to negotiate the settlement as said to do by Scott Hansen of SPS. The
28
                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                23
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 24 of 100 Page ID
                                       #:5549



 i        NOD she filed and further billing rightfully billed by Plaintiff were included
 2
          and a third party representative, Christine Fitzpatrick, handled the emails
 3

 4
          between SPS and what was to be the escrow company. SPS responded in

 5        receipt but ignored negotiations. Plaintiff believes SPS acted in bad faith never
 6
          intending to settle, but just to steal our home and land.(See E~ibits "CC"-

 s        ~~~~~~

 9
       63.On August 8, 2016, a Trustee's Sale was conducted by Quality Loan Servicing
io
11
          Corporation(QLS)and purported Nationwide Posting and Publication, Inc..

12        Plaintiff had made every attempt through multiple cease and desist orders,
13
          phone calls, faxes and emails leading up to the very moment ofthe credit bid,
14

15        at which time she was on the phone up to the time ofthe alleged "sale" with
16
          QLS, after speaking with Nationwide Posting and Publication, Inc. Heather
i~
          and Select Portfolio Servicing, Inc to stop the action. Plaintiff had sent
18

19        nur~s cease and desists from October 2015 and past the Credit Bid.(See
20
          Exhibit ••AA••)
21

22     64.on or about October 2016 Plaintiff received the property tax bill created the end
23
          of September 2016, over a month past the purported Credit Bid on August 8,
24
          2016, as the property was still in her name,Powers, Billie Rene'Frances
25

26        Lillian.
27

28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                24
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                                       #:5550



 i     65.On or about November 2016 Plaintiff found that QLS claimed that on August
 2
          16,2016 they recorded a Trustee's Deed Upon Sale. The name on the Title is
 3

 4
          not one on any assignment and VP Gavin Tsang strongly states to me that

 5        BONYM does not own the property or any loan on it. The document was filed
 6
          as an Accommodation Only with no insurance oftruth or affect on title.(See

 s        Exhibit "Q" and "JJ"
 9
       66.On November 11.2016 Plaintiff sent a letter to OC District Attorney Tony
io
ii        Rackauckas seeking assistance to return her stolen title, asking him to look at

12        the fact she was issued the tax bill received in October and that she knew any
13
          recordation of a transfer of deed would possibly entail backdating. He was
14

15        given the evidence that the purported Trust on the Title did not exist. Plaintiff
16
          also numerous times refreshed his memory on the other notices and affidavits
17
          he had received over the years.
18

19     67.In January 2017 Plaintifffound a note on a gate from a realtor from Top
20
          Producers Realty of Riverside offering her cash for keys. Plaintiff sent the
21

22        company a demand for proof ofrepresentation in a cease and desist letter with
23
          a writ oftort for possible damages in the event any action was taken without
24
          standing proven. She told them she had no contract with anyone and that she
25

26        was battling false claims. In the letter the correct mailing address and phone
27
          number for contacting her was provided as she made it clear to them no mail
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMP~,AINT
                                                25
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                                       #:5551



 i        came to the property and the mailbox was no longer used due to vandalism and
 2
          removal from the Federal Zip Code program.
 3

 4
       68.On June 8, 2017 Plaintifffound eviction paperwork taped to a gate claiming to

 5        have served a 3/90 notice for eviction in February 2017, a notice she never saw
 6
          or received. Plaintiffresponded to the information from the Wolf Law Offices

 8        and demanded proof ofrepresentation and gave information relating to the void
 9
          Contract. She gave the correct address and her phone number for contact,
io
11
          though none was returned. She cc'd the court on the demand for validation and

12        included the D.A et al.
13
       69.On July 31, 2017 Plaintiff received a call from Sheriff Deputy Theis, he was
14

15        letting her know she had an eviction on August 6 scheduled and he had taped
16
          the writ to the gate. He claimed he called as she most likely did not know ofthe
1~
          posting, claiming Plaintiff did not live in her home. Plaintiff told Deputy Theis
18

19        he was wrong, she never abandoned her home and did live there but did not
20
          have any eviction notice. She also told him he was in Riverside attempting to
21

22        do Orange County service on a road she did not have an easement on,through
23
          an Emergency access gate. She was verbally abused when she told Deputy
24
          Theis she knew him to be the one who assisted in the Cell Tower employee
25

26        trespass and he told to shut my mouth.
27

28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               26
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 1     70.In June of2017 Plaintiff was introduced to an attorney, who told her she would
 2
          file a federal lawsuit to potentially keep me in my home. She called herself
 3

 4
          Plaintiffs counsel and asked her to attend meetings where she cultivated more

 5        potential clients. As the weeks went by Plaintiff kept questioning when the suit
 6
          would be filed for the void contract, it never was drafted by the attorneys office

 8        or filed. The attorney filed a BK 13 to stop Plaintiff from being removed from
 9
          her home after it was found there had been a writ of possession issued the end
io
it        of July. Judge Bauer refused to grant a stay and said that BK was not a way to

la        save a home. Judge Bauer said she would allow the Bank to take the house, no
13
          matter.
14

15     71.On or about August 2017. After the woman calling herself Plaintiffs attorney
16
          failed to file a suit, Plaintiff filed a Federal lawsuit pro per for Breach of
l~
          Contract not knowing what else to do, case #8:17-cv-)1386-DOC-KES. She
18

19        filed what was a horribly drafted case, but one that held the truth and proof of
20
          the Breach of Contract and injuries Plaintiff sustained.
21

22     72.On August 28, 2017 Plaintiff suffered a TIA, mini-stroke and was hospitalized.
23
       73.In August and September 2017, even with the extreme health issues, Plaintiff
24
          filed exparte motions into the Superior court to stop the writ of possession
25

26        issued without her knowing of any court dates or being present. The woman
27
          realtor/representative for Top Producers Realty and process server admitted to
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 27
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                                       #:5553



 i        knowing a false address was used for service and also it was admitted that the
 2
          ranch hand, C11ris Martin, was offered cash for keys and worked with them
 3

 4
          without Plaintiffs knowledge. He was said not to have given them access to

 5        Plaintiffs home though as all the family property was inside, also admitted to
 6
          on the stand. The judge ruled for the law firm although Plaintiff brought up he

 s        had no subject matter jurisdiction and that no 3/90 notice was ever given to her,
 9
          that the entity name used for the BONYM trust did not exist and was false, and
io
ii        that no plaintiff appeared in court. He also was told she had NEVER had any

12        NOD or NOS sent to me as required. Plaintiff was the only one with firsthand
13
          knowledge present. All The judge cared about were that documents were filed
14

15        and it was not his place to determine the validity of the contract
16
       74. Plaintiff filed an appeal in the OC Superior court to the UD action on or about
i~
          September 19, 2017, it was denied due to procedure, not merit.
18

19     75.On September 21 2017, at or about 8:50 am, while Plaintiff was on the way to
20
          meet a new potential attorney, Richard Snyder, her roommate called hysterical
21

22        and crying as our home was hit by over a dozen plus sheriffs in sheriffs cars
23
          and plain clothed officers in rental cars, accompanied by a helicopter and
24
          pointing assault weapons with demands to come out with hands up to execute a
25

26        lock out. This roommate was denied possession as required by HBOR in a UD
27
          hearing in September 2017. Plaintiff does not own guns and the only one who
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                28
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 i        did is the ranch hand, Chris Martin, who worked with the Attorneys of the
2
          Wolf Law Firm and Top Producers Realty of Riverside without Plaintiffs
 3

 4
          knowledge and he had left in June 2017, though he had not been staying at the

 5        home full time for 2 years prior to his final leave. The Sheriffs were aware
 6
          Martin was not in the home and they assisted in the locking ofthe doors with

 8        heavy chains too. The front security gate was broken as the sheriffs rammed it
 9
          to enter the property. Plaintiff is not a threat, and never has been,to Law
10

11
          Enforcement and the excessive force she believes was for intimidation and

12        retaliation, to create fear.
13
       76.In October 2017 Plaintiffs then attorney ofrecord, Snyder, made calls for her to
14

15        access the family property for belongings, but there was no request granted
16
          and Plaintiff lost all her family belongings, treasures. At this time she has no
17
          idea what condition our home or belongings are in.
18

19     77.November 2017 Plaintiff reached out to the investor division ofthe BONYM
20
          for a copy ofthe IRS 8594,the asset acquisition statement, and it was the VP
21

22        ofBONYM Gavin Tsang who emailed me back telling her that BONYM did
23
          not own my property or loan and that BofA,NA was the servicer.(See Exhibits
24
          "JJ" and "II")
25

26     78.on October 5, 2017 Plaintiff sent Brian Moynihan ofBofA an email, followed
27
          by a registered mail letter for the information regarding IRS 8594, and the
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                29
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                                       #:5555



1         illegal foreclosure held against my property. It is required to answer to and
2
          BofA did not respond.(See E~ibit "II")
 3

 4
       79.Since the lock out on September 21, 2017 research has found investor

 5        documents obtained directly from BONYM which contradict a default and
 6
          offer a very different foundation of fraud upon the court for BONYM et al

 8        misrepresentation and false claims against Plaintiffs property. She has no
 9
          contract with any ofthe Defendants.
to
ii     80.At the TRO hearing in Federal Court on or about November 2017, Judge Carter

is        said he would be the Sledgehammer coming down on any document fraud and
13
          that this matter should be settled outside of court, him calling this case
14

15        "Compensable". Plaintiff does not believe the Defendants care about honest
16
          settlements or compensable liability. After court her attorney, Richard Snyder
i~
          and the defense attorney, Steven Dailey met for discussions of possibly settling
18

19        as Judge Carter said. But Dailey said his clients were prepared to offer
20
          $5,000.00 dollars to settle. Steven Dailey later stated that he has no negotiating
21

22        authority to settle this case.
23
       81.Attorney Snyder ordered a preliminary F.A.C.T. report on the property for the
24
          TRO hearing, but he neglected to use this valuable document. This document
25

26        would have given the court proof ofthe need for the TRO needed. Plaintiff
27

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                30
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 i        asked him to include it, he said it was not necessary and advised to exclude it.
 2
         (See Exhibit "Z" F.A.C.T. REPORT)
 3

 4
       82.December 21, 2017 Presidential Executive Order Blocking property of persons

5         involved in serious human rights abuse and corruption.
 6
          https://www.whitehouse.gov/presidential-actions/executive-order-blocking-

 8        property-persons-involved-serious-human-rights-abuse-corruption/
 9
       83.On or about January 2018 Plaintiff requested a "pay off statement" of account
10

ii        from Select Portfolio Servicing, Inc. They send her a statement as "customer:

12        BILLIE RENE POWERS" with an open account accumulating escrows,
13
          insurance, interest. This document proves there was no foreclosure or credit
14

15        bid. This document is enough to dismiss this case in her favor and award
16
          damages for breach of contract.(See Exhibit "GG")
17
       84.In March 2018 there was a hearing with Judge Carter for motions to dismiss,
18

19        Plaintiff was pro per due. Judge Carter directed her to seek counsel and she told
20
          him she would do her best, but finding honorable and competent counsel that
21

22        will fight the banks is hard. Judge Carter caught Steven Dailey in a lie where
23
          by Dailey lied to the court and stated that Plaintiffs home had been sold to a
24
          third party, he later had to admit it had not. The name Dailey used in his lie was
25

26        none other than Thomas Peppers.
27

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                31
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 1     85.Apri12018. Plaintiff and Valerie Lopez become the owners ofthe business
 2        name Nationwide Posting and Publication, Inc. This company had dissolved in
          December 2013,though FATCO continued to utter the name assisting in
 3
          foreclosures, claiming it was a sub corporation oftheir company as a legal
 4
          publication and auction participant company. The men/women involved using
 5        this company name during Plaintiffs contested Trustee Sale action were given
 6        cease and desist notices and told they were acting in fraud. Valerie and Plaintif
          were able to secure the company name with assistance from the California
          Secretary of State and prove that the foreclosures this company named
 8
          participated in since dissolution and to date are not lawful as the name was not
 9        a legally registered name with California. Recontrust Company, N.A. and
10
          Recontrust Company are also a void on the property as they too were not
          registered with the secretary of state of California other than through Pat
~i
          Briggs, he states he has had nothing to do with any DOT on Plaintiffs property.
12
          MERS is also a company not registered as required. so 3, three, companies that
13        Plaintiff knows ofto date, there may be more, are not lawfully registered to
14        operate in California but the names uttered by claims of Defendants have
          assisted in stealing the land, home and life through fraud upon the court and
15
          unclean hands. CA Rev. And Tax Code Section 23304.1; and CA Corporate
16
          Code Sect. 2203 and 2105....ifthe business is not registered in California and
i~        did notpay FTB Franchise Taac Board it cannot conduct business.(See
18
          Exhibits "AA,"BB")72.

19
       86.Ju1y31, 2018 Judge Carter denies Plaintiffs Motion for Civil Joinder of
20
          Criminal Actions
21

22
            based on not seeing how she could bring the case as a private party.

23
      87.    On July 30, 2018 all Defendants distanced themselves from the "origination"
24

25
         ofthe contract, in this case how can any firsthand knowledge to the contract

26       existence other than by the Plaintiff? One cannot distance themselves from the
27
         fact no "lender" is involved and no Defendant is a holder in due course ofthe
as
                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 32
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 i       Note or Contract and none have firsthand knowledge of any ofthe Plaintiffs
 2
         documents.
 3

 4
      88.   Plaintiff has given enough evidence that any reasonable juror, man or

 5       woman, would see there is misconduct and/or false claims by Defendants'.
 6
         Plaintiffs evidence also provides reasonable reasons for Lawyers who purport

 8       to represent the Defendants to address the false claims and breach of contract
 9
         without ignoring the evidence. In addition to this rule, lawyers remain bound by
io
it       Business and Professions Code sections 6068, subdivision(d)and 6106.The

12       California Hearsay Rule of Evidence Code 1200 EC has 30 exceptions and an
13
         attorney speaking for his purported client is not one ofthem. Plaintiff cannot
14

15       cross examine Defendants properly until in front of a Jury of peers to hear the
16
         facts. Jurors will be given sufficient evidence that there is no harmed party
i~
         coming forth and also due to hearsay rules of evidence. The Plaintiff is moving
18

19       this court to find for the Plaintiff through Plaintiff's firsthand knowledge and
20
         facts. .
21

22     AFFIDAVITS FILED WITHOUT PERSONAL KNOWLEDGE
23
      (ROBOSIGNING)
24

25
           https://www.gpo. ~ov/fdsys/pk~/CHRG-lllshr 65258/pdf/CHRG-
26     1 llshr~65258.~df all 509 page-13...
27

X3
 :1

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                33
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 1    89.A. Affidavits filed without personal knowledge (robosigning) Affidavits need to
 2
         be based on personal knowledge to have any evidentiary effect; absent personal
         knowledge an affidavit is hearsay and therefore generally inadmissible as
 3       evidence. Accordingly, affidavits attest to personal knowledge of the facts
 4
         alleged therein. The most common type of affidavit is an attestation about the
         existence and status of the loan, namely the homeowner owes a debt, how much
 5       is currently owed, and that the homeowner has defaulted on the loan. (Other
 6       types of affidavits are discussed in sections II.B. and II.C., infra). Such an
         affidavit is typically sworn out by an employee of a servicer (or sometimes by a
         law firm working for a servicer). Personal knowledge for such an affidavit
 8       would involve, at the very least, examining the payment history for a loan in the
         servicer's computer system and checking it against the facts alleged in a
 9
         complaint. The problem with affidavits filed in many foreclosure cases is that
to       the affiant lacks any personal knowledge of the facts alleged whatsoever. Many
11       servicers, including Bank of America, Citibank, JPMorgan Chase, Wells Fargo,
         and GMAC, employ professional affiants, some of whom appear to have no
IZ       other duties than to sign affidavits. These employees cannot possibly have
13       personal knowledge of the facts in their affidavits. One GMAC employee,
         Jeffrey Stephan, stated in a deposition that he signed perhaps 10,000 affidavits
14
         in a month, or approximately 1 a minute fora 40-hour work week.For a
15       servicer's employee to ascertain payment histories in a high volume of
         individual cases is simply impossible. When a servicer files an affidavit that
16
         claims to be based on personal knowledge, but is not in fact based on personal
i~       knowledge, the servicer is committing a fraud on the court, and quite possibly
         penury.
18
      90. The 49 State National Mortgage Settlement was to resolve servicing
19

Zo       violations. To review the settlement documents for each servicer, please go to

21       www.NationalMort~a~eSettlement.com....."Although the settlement resolves
22
         some violations, the federal government and state attorneys general did not
23

24       release all the potential claims against these five servicers. The federal
25
         government and states can still pursue criminal prosecutions for criminal
26

27
         offenses and violations ofthe fair lending laws based on discriminatory

28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                34
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 i       conduct. Securitization claims based on the offer, sale or purchase of mortgage
 2
         securities are not released by the settlement. The states also did not release any
 3

 4
         potential claims against Mortgage Electronic Registration Systems, Inc.,

 5       MERSCORP,Inc. or any tax claims relating to real estate transfer taxes.
 6
         Mortgage borrowers can still file claims on an individual or class action basis."

 8
            McGinnis a American Home Mortgage Servicing, Inc., No. 14-13404(11th
 9

io          Cir. 2018)Plaintiff does not want more time to pass to get the remedy
li          Plaintiff deserves. In This case, McGinnis had been awarded her jury win in
12
            2014 and it took 4 years for the appeals court to rule in McGinnis's favor,
13

14          again. Appeal ruling forced the Defendants in her case to perform and settle
15
            the case as she was awarded. On 2-page 12 paragraph 3 "...Concerns about
16

17          securitization chain of title also go to the standing question. Ifthe mortgages

18
            were not properly transferred in the securitization process, then the party
19
            bringing the foreclosure does not, in fact, own the mortgage and therefore
20

21          lacks standing to foreclose."
22

23
      91.     Plaintiff has raised triable issues which exposes Defendants' willful and

24       reckless disregards for others which portrays callus and unethical practices
25
         contrived through fraudulent Instruments in Court records, without
26

2~       remorse."While an attorney should represent his client with singular loyalty,
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                35
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i        such loyalty does not demand that he act dishonestly or fraudulently; on
2
         contrary, attorney's loyalty to court, as officer thereof, demands integrity and
 3

 4
         honesty in dealing with the court, and when he departs rom such standard in

5        conduct of case, he perpetratesfraud upon the court."Kupferman v
 6
         Consolidated Research & Mfg._Corp. (1972, CA2 NY)459.F2d 1072, 16 Fit

 8       Sery 2d 160, 19 ALR Fed 747.
 9
      92.   "Fraud upon the court" has been defined by the 7th Circuit Court of Appeals
io
i~       to "embrace that species of fraud which does, or attempts to, defile the court

12       itself, or is a fraud perpetrated by officers of the court so that the judicial
13
         machinery cannot perform in the usual manner its impartial task of adjudging
14

15       cases that are presented for adjudication." Kenner v. C.I.R., 387F.3d 689
16
        (1968); 7 Moore's Federal Practice, 2d ed., p. 512, ¶ 60.23.
l~
      93. Fraud or mistake is extrinsic when it deprives the unsuccessful party of an
18

19       opportunity to present his case to the court. [Citations.] If an unsuccessful party
20
         to an action has been kept in ignorance thereof[citations] or has been prevented
21

22       from fully participating therein [citation], there has been no true adversary
23
         proceeding, and the judgment is open to attack at any time. Bottom v. Bottom
24
         [Civ. No. 19985. First Dist., Div. Two. Dec. 14, 1962.]
25

26    94.   At all times relevant to this complaint, Plaintiff has sought answers from
27
         Defendants to the demands for debt validations and transparency regarding the
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 36
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 37 of 100 Page ID
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 1       documents ofthe contract as Deed of Trust, Plaintiff autographed on June 27,
 2
         2007. The contract was autographed in beliefthat Plaintiff was entering into a
 3

 4
         purchase of Plaintiff's home and Plaintiff entered into the purchase with a

 5       $510,000.00 equity down payment. Plaintiff believes based on acquired
 6
         evidence and based on contract, lending and financial laws that the contract is

 8       void ab initio as it never existed in law (anvthin~ done in fraud is void ab initio
 9
         of no legal) and that Plaintiffs property was paid and settled at closing through
to
l~       credits and an equitable exchange ofthe note. Plaintiff now knows that there is

IZ       nothing lent to her, but that the banks actually acted as brokers at the Fed
13
         Window taking Plaintiffs own credits.
14

15    95.The First National Bank of Montgomery v. Jerome Daly known as "The Credit
16
         River Decision from 1968". A Minnesota Trial Court's decision holding the
17
         Federal Reserve Act unconstitutional and VOID; holding the National Banking
18

19       Act unconstitutional and VOID; declaring a mortgage acquired by the First
20
         National Bank of Montgomery, Minnesota in the regular course of its business,
21

22       along with the foreclosure and the sheriffs sale, to be VOID. Full
23
         report: http://worldnewsstand.net/money/mahoney-introduction.htm. Plaintiff
24
         will demonstrate to the jury that not only have the Defendants breached the
25

26       contract, but it never existed in law and that through conspiracy the Defendants
27
         orchestrated the unlawful taking ofPlaintiffs land, home,title, equity and
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                37
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 i       family belongings through unclean and malicious intent to hann Plaintiff and
 2
         unjustly enrich themselves.
 3

 4       CONVERSION

 5    96.   Conversion is an intentional tort consisting of"taking with the intent of
 6
         exercising over the chattel an ownership inconsistent with the real owner's right

 8       of possession. In the United Kingdom this is known as "strict liability" it's
 9
         equivalent's in criminal law; include Larceny, Theft &Criminal Conversion
to
ii      (lesser than theft &larceny)traditionally, a conversion occurs when chattel

iz      (property) is lost, then found by(assigned by)another who appropriates it for
13
         its own use; without legal authority to do so. This is misused or misappropriated
14

15       unjust enrichment; theft is also conversion.
16
      97.   For a conversion, there must be an element of voluntary dealing with
i~
         another's property, inconsistently with their rights. Elements of conversion; 1)
18

19       Intent to convert the tangible or intangible property of another's to one's own
20
         possession and use 2)T'he property in question is subsequently converted; was
21

22       alleged a mortgage loan for a home; was converted or originated as a security
23
         for a MBS/REMIC.
24
      98.   The CONTRACT was alleged to be packaged into a security and identified
25

26       in the ALT 2007-HY9. Plaintiff has proofthere was no assignment ofPlaintiffs
27
         property into this purported trust.(See E~ibit"H"-"K","M")Without consent
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               38
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 1       from or knowledge by the Plaintiff, the alleged borrower was converted from a
 2
         borrower to a security issuer and the investors/depositors were converted from
 3

 4
         part owners in a VALID REMIC POOL TRUST to a buyer of a security. As

 5       the real purpose of the alleged loan for the Mortgage Transaction Agreement
 6
         MTA, was in fact a security investment scheme, wherein the intermediaries

 8       took everything; the tender/credit, the property, gains from the credit default
 9
         swaps, insurance(from default insurance that every single-family home under
10

11
         HCTD has under the Guaranteed Home Loan Program under President Ronald

12       Reagan)and government bailouts. Leaving the Plaintiff and Investors with
13
         holding empty bags of nothing but debt and taxes that were originated by
14

15       Countrywide, who had no skin in the game to begin with.
16
      99.   Conversion to Securitization is the act of producing an investment vehicle
1~
        (SPV Special Purpose Vehicle)of MBS using the borrower's Mortgage Note as
is
19       the underlying corpus, as collateral. Kremen v Cohen 325 f. 3d 1035 (9~' Cir
20
         2003)Both tangible and intangible property can be the subject of a claim for
21

22       conversion, under United States laws. 1704 Baldwin v Cole;"The very denial
23
         of goods to him that has a right to demand them is an actual conversion and not
24
         only evidence of it"; but all ofthe personal family belongings and furnishings
25

26       right down to Plaintiff's panties that were stolen (converted). Under dentinue,
27
         conversion allows for damages and the return of property.
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               39
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1      100.    Plaintiff brings proof that she has no contract as the Congressional
2
         Regulation are clear and that the Banks have no authority to lend credit or to do
3

 4
         business within the several States. Plaintiff brought a motion for Civil Joinder

 5       of Criminal Actions that states these Laws,Regulations, Codes, Statutes and
 6
         facts in law with merit. See her CIVIL JOINDER OF CRIMINAL ACTION for

8        Congressional intent and regulations. The contract was VOID when the
 9
         conversion took place, which was a Breach of Contract.
10

ii     101.    For the last 100 years Congressional Regulations have stood, they are

12       clear that the intent of Congress is to protect the people from foreign invasion
13
         and unlawful banking, not to allow foreign usurpation on American soil. In
14

15        1932 Congressman McFadden gave a speech that has gone down in history and
16
         is included in the Joinder documents recorded herein this case.
17
       102.   Plaintiff has, at all times, maintained Plaintiff cannot be in default or owe
is
19       someone with false claims attempting to collect a debt Plaintiff does not owe.
20
         the party "seeking to enforce the note must be the holder ofthe note and not
21

az       merely the assignee ofthe right to bill and collect the debt, section 559.715 is
23
         inapplicable." Bank of N.Y. Mellon v. Welker, 41 Fla. L. Weekly D1478 (Fla.
24
         2d DCA June 24, 2016); see also Hagstrom,41 Fla. L. Weekly D1671 (Fla. 2d
25

26       DCA July 20, 2016). Select Portfolio Servicing, Inc. is merely the "servicer"
27
         and at no time was the genuine contract able to be produced, only digital
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               40
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 1        computerized documents exist, hence the escrow opened to negotiate in good
 2
          faith, which SPS failed to do.(see E~ibits "CC"-"GG")
 3

 4
         At all times relevant to this complaint Plaintiff owns and had possession ofthe
 5
      Property located in San Juan Capistrano unincorporated, Orange County,
 6
      California State unincorporated, bearing assessor parcel number 125-120-27 and
      formerly known as 40701 Ortega Highway, San Juan Capistrano, California 00000
 8
       rural ("Property"). And since Title CANNOT pass by fraud by law Plaintiff still
 9
       holds title to her property.(The UCC at Section 2-401 provides that "title to goods
10
    cannot pass under a contract for sale prior to their identification to the contract."
it
   (In a lease, of course, title to the leased goods does not pass at all, only the right to
12
       possession and use for some time in return for consideration. Uniform Commercial
13     Code, Section 2A-103(1)(j).) So identification to the contract has to happen before
14     title can shift. Identification to the contract here means that the seller in one way or
15     another picks the goods to be sold out ofthe mass of inventory so that they can be
16     delivered or held for the buyer. Article 67 of the CISG says the same thing: "[T]he
i~     risk does not pass to the buyer until the goods are clearly identified to the contract,
18     whether by markings on the goods, by shipping documents, by notice given to the
19     buyer or otherwise."
20
       see link https://saylordotorg.github.io/text law-of-commercial-transactions/s21-
21
       title-and-risk-of-loss.html)
22

23

24
       103.     In January 2008 Bank of America purchased Countrywide Financial.
25
          Substantially all of COUNTRYWIDE FINANCIAL's assets were to have been
26

27        transferred to Defendant BOA on November 7, 2008, in connection with
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  41
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i        COUNTRYWIDE FINANCIALS integration with Defendant BOA'S other
2
         businesses and operations. COUNTRYWIDE FINANCIAL ceased filing its
 3

 4
         own financial statements in November 2008, and instead its purported assets

5        and liabilities have been included in Defendant BOA'S financial statements.
6
       104.     April 26, 2007 Seller, Roger De Long, executed a Grant Deed naming

 s       Plaintiff as the sole grantee and deposited the Grant Deed into escrow. That
 9
         Grant Deed was materially altered and as the attached exhibit is an affidavit of
io
11
         timeline it will detail the events that are known as damages to the Plaintiff.

12       These damages arise from a void contract, forged Grant Deed, Void Corporate
13
         Assignment ofDeed of Trust and Lack of Standing to enforce a contract.
14

15       On July 2, 2007 Plaintiff closed escrow on her home,she caused $510,000.000
16
       to be her "down payment" of equity and had what was told to her by
i~
       COUNTRYWIDE BANK,FSB to be a $1,190,000.00 first loan balance on a
18

19     $1,700,000.00 purchase price ofthe land and structures as well as water rights.
20
       After an audit showed that the documents Plaintiff held had a "0" principal
21

22     balance (see Exhibit "S"), Plaintiff began asking questions and as she asked
23
       questions the answer became clear, not one party she was confronted by could
24
       prove standing to collect any debt from her and not one could actually say who the
25

26     current "Lender" is who authorized any auction of her home.
27

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                42
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i      105.     Lack of Standing to enforce a contract, also proves the wrongful
2
         foreclosure claim that Plaintiff believes Judge Carter errored on when he
3

 4
         dismissed Plaintiffls wrongful foreclosure claim with Prejudice. Plaintiff is

5        informed and believes, and thereon alleges, that in order to make debt collection
6
         claims, a person or entity must have standing. That is why those who claim to

 8        be the Holder in Due Course must prove they have received all conveyances of
 9
         title by the Trust, through Assignments by hand delivery ofthe said wet ink
io
ii        signature note for deposit. The fact that Bank of America bought Countrywide

12       Financial Services is that BofA also took on the liability ofthe contracts they
13
          bought.(See Edward Davidson vs Sterus et al. case #D071502 decision filed on
14

15        appeal March 13, 2018...Division One California Court of Appeal, mortgage
16
          lenders and servicers can, at least under certain circumstances, be "debt
l~
          collectors" under the California Rosenthal Fair Debt Collection Practices Act,
18

19       frequently referred to as the "Rosenthal Act."...)
20
       106.     Plaintiff contends that Defendant SELECT PORTFOLIO SERVICING
21

22        INC as alleged beneficiary through their hired Trustee known as QUALITY
23
          LOAN SERVICING CORPORATION,and through their claims that their
24
          California legal counsel told them to go ahead with the taking ofPlaintiffs title,
25

26        did not have the standing to take Plaintiffs Property.
27

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                43
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 1     107. Defendants cannot show any authority oflending of credit, and did not deny
 2
         this fact in court on July 30, 2018,in fact Defendants distanced themselves
 3

 4
         from a "loan" origination saying they had nothing to do with originating any

 5       "loan" with the Plaintiff. Defendants cannot show any consideration paid by
 6
         purported lender COUNTRYWIDE BANK,FSB., whatever entity is supposed

 8       to be now at this stage, or authority to have the alleged lender
 9
          COUNTRYWIDE BANK FSB pass a void purported contract offto another
10

ii        entity, claim duly perfected title, nor can they show a complete chain of valid

12       assignments or transfers ofthe Note together with the purported contract known
13
         as the Deed of Trust along the chain of securitization. The only real parties of
14

15        interest can be the parties who entered into the original MTA,where that wet
16
          ink signature note is the evidence of all other transfers ofinterest, rights and
i~
         conveyances of title were originated
18

19

20
                                  CAUSES OF ACTION
                  (Against All Defendants omitting THOMAS PEPPERS)
21

22     COUNT L• CONSPIRACY
23        108. Plaintiff re-alleges and incorporates by reference all preceding paragraphs
24
          and e~iibits as though fully set forth herein.This claim is predicated upon
25
         Defendants' strict liability for material misstatements and omissions in the
26

2~        mortgage loan transfer to a REMIC in the securitization process, governed by a
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 44
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 i       PSA,a Trust Agreement filed under penalty of perjury with the United States
 2
         Securities and Exchange Commission.
 3

 4
               a. At no time did COUNTRYWIDE BANK FSB have authority to lend

 5                credit per Congressional Regulation.(INSERT)and as alleged
 6
                  successor to the purported contract Bank of America, NA as master

 8                servicer had a fiduciary duty to stop false claims and have their
 9
                  servicer known as Select Portfolio Servicing, Inc. settle as agreed in
io
11                good faith through negotiations open at the time ofthe taking of

12                Plaintiffs property. Defendants have a duty to act in law and not under
13
                  the color of it through procedurally recording documents knowingly
14

15                causing false claims without authority to do such.
16
               b. Defendants claim to be acting on behalf of a contract that
17
                  systematically ignored underwriting standards imposed by state and
18

19                federal laws in issuing the mortgages pooled into the RENIIC.
20
                  Reference the 49 State National Mortgage Settlement.
21

2z                See link; http://www.ncsl.or~/research/financial-services-and-
                  commerce/national-mort~a~e-settlement-summary.aspx
23

24             c. Defendants promoted "unfair" claims of loans under Federal and
25
                  California law and concealed problems with contracts known as
26

2~
                  Deeds of Trusts dressed as mortgages, failing to take sufficient steps

f~~~

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                              45
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 1                to avoid placing problem contracts in securitization pools. In fact the
 2
                  actual inclusion into the Pooling and Servicing Agreements were to
 3

 4
                  hold the collateral to the alleged "loans" which we now know are the

 5                required "COLLATERAL DEPOSITS" equal to 100 percent ofthe
 6
                  credit lent, not the residential real property ofPlaintiff. We know that

 8                the alleged Lender is nothing more than a broker usurping the US
 9
                  CITIZENS accounts at Federal Reserve Window claiming to be a
io
11                lender when in fact no money or cash is lent, there is no consideration

12                or penny invested by purported lenders or their servicers,
13
                  representatives or assigns. The SPV is being disguised intentionally,
14

15                as it appears to be Public Transmitting Utilities/LJS
16
                  CITIZENS/LEGAL NAME ENTITIES that are the Special Purpose
i~
                  Vehicles that American wo/men are issuing by their signatures for
18

19                authorization to their private credit(the people are the credit that
20
                  backs the nation, see Congressman McFadden's speech E~iibit"").
21

22                The unfair business practices included: Telling those seeking to buy a

23
                  home or land that they were "borrowing money" from
24
                  COUNTRYWIDE BANK FSB, or other alleged lenders, to buy their
25

26                new home and land, when in fact there is no money lent, it is all credit
27
                  and only book entries, the fact is DEFENDANTS have zero skin in
28

                  PLAINTIFF'S VERIFIED FOURTH-I AMENDED COMPLAINT
                                               46
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 i                the game, no investment of money. Barney Frank, former chairman of
 2
                  the House Financial Services Committee, said,"The loophole has
 3

 4
                  eaten the rule, and there is no residential mortgage risk retention." He

 5                made this quote in response to; See link:
 6
                  https://www.nytimes.com/2014/10/24/business/banks-again-avoid-

 8                havingany-skin-in-the-game.html "In 2011, when the regulators first
 9
                  proposed rules to carry out the risk-retention law, the idea was that
to
ii                there would be a two-tier mortgage market. Mortgages deemed to be

IZ                Q.R.M. would be characterized by substantial down payments that
13
                  would minimize the risk of default, while the other tier would include
14

15                riskier mortgages —although still safer than some ofthe ridiculous
16
                  mortgages that characterized the boom —and could be securitized
1~
                  only if those responsible for either the loans or the securitizations kept
18

19                some ofthe risk. But when the final rule was adopted this week,that
20
                  idea was dropped."..."Since securitizers won't be required to retain
zl
22                risk for private-label securities," said Sheila Bair, a former
23
                  chairwoman of the Federal Deposit Insurance Corporation,"investors
24
                  will continue to be reluctant to buy their securities. So the
25

26                government-backed ones will remain pretty much the only game in
27
                  town. Of course, taxpayers will be holding the bag if, or when,there is
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               47
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 i                another downturn." In the final weeks before the rules were formally
 2
                  issued, it was clear that the lenders had pretty much won all the
 3

 4
                  arguments on residential mortgage lending. But there was an intense

 5                lobbying campaign from lenders to eliminate or minimize risk-
 6
                  retention requirements on another form of securitizations, called

 8                collateralized loan obligations, or C.L.O.s. That effort failed, in part
 9
                  because the loans making up C.L.O.'s are often of low credit quality
io
ii                and in part because they reminded regulators of collateralized debt

12                obligations, which played a significant role in the financial crisis.
13
                  Wall Street's response to that loss was to warn that loans might not be
14

15                made if those making them had to bear the losses if the loans went
16
                  "bad"". Plaintiffreminds the court that a 100% Cash Collateral
i~
                  Deposit isrequired on all credit transactions, notjust some, but all and
18

19                in fact they do not exist. See CIVIL JOINDER OF CRIMINAL
20
                  ACTIONS documents. "Lenders" have zero skin in the game, not one
21

22                penny invested.
23
               d. Plaintiff has demonstrated herein how all Defendants conspired
24
                  against Plaintiff, inflicting continuous emotional distress, for one
25

~~                cause,"economic gain." The scheme consisted of Conversion, many
2~
                  attempts to take Plaintiff's home, violating Plaintiff's rights,
~:~
                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               48
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1                 committing trespass on Plaintiffs land and person, committing
2
                  identity theft, committing financial crimes against Plaintiff, despite
 3

 4
                  the threat of becoming physically harmed, threats of arresting Plaintiff

s                 for trespass on Plaintiff's own property and making Plaintiff
6
                  homeless. Defendants' took all that was not theirs to take from

 8                Plaintiff and her heirs. This is the very act of Conversion which is a
 9
                  TORT. Defendants' acting in concert as they held and could see the
io
ii                evidence that the Plaintiff provided and validated through Notary

12                bond claims, notary affidavits, legal publications Plaintiff caused to
13
                  run and a notice of default Plaintiff filed against them.
14

15             e. Each Defendant, by virtue of his and/or her control, ownership,
16
                   offices, directorship, and specific acts was, at the time ofthe wrongs
i~
                  alleged herein and as set forth herein, a controlling person of
18

19                Defendant BOA,N.A. within the meaning of Section 15 ofthe
20
                   Securities Act. Defendants' had the power and influence, and
21

22                 exercised the same to cause Defendant BOA to engage in the acts
23
                   described herein. BOA has been the master servicer as evidenced by
24
                   Gavin Tsang as fact.
25

~~             f. Plaintiff has raised triable issues which exposes Defendants' willful
27
                   and reckless disregards for others which portrays callus and unethical

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               49
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1                 practices contrived through fraudulent Instruments in Court records,
2
                  without remorse."While an attorney should represent his client with
 3

 4
                  singular loyalty, such loyalty does not demand that he act dishonestly

5                 or fraudulently; on contrary, attorney's loyalty to court, as officer
6
                  thereof, demands integrity and honesty in dealing with the court,

8                 and when be departs from such standard in conduct of case, he
 9
                  perpetrates fraud upon the court." Kupferman v Consolidated
to
11                Research & Mfg._Corp. (1972, CA2 NY)459 F2d 1072, 16 FR Sere 2d

12                160, 19 ALR Fed 747.
13
               g. Plaintiff contends Plaintiff has had no contract with the Defendants.
14

15                Further, Hearsay of Defendants Counsel and any others who have no
16
                  connection to the origination of the purported loan do not have any
1~
                  standing to bring any claims when in fact the underlying contract is
18

19                deemed void by law. Defendants Select Portfolio Servicing, Inc,
20
                  MERS and BANK OF NEW YORK MELLON AS TRUSTEE are all
21

22                using the same lawyer. Plaintiff questions conflict of interest. It is a
23
                  conflict that the Bank of New York Mellon as Trustee claims it has no
24
                  ownership of the property or a loan against the property, yet Select
25

26                Portfolio Servicing, Inc says it took the property via a credit bid
27
                  through the Trustee it hired for the BONYM, and then Mortgage
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                           50
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 i                  Electronic Registration System Inc. purported to be the beneficiary
 2
                    went inactive on the supposed account years ago after the void
 3

 4
                    assignment, using robosigner Nichole Clavendetshcer as an alleged

 5                  MERS employee, was filed and has a conflict of recording documents
 6
                   . As all three are claimed by Plaintiff to be in collusion through a

 8                  conspiracy to take Plaintiff's property it is Plaintiffs belief this
 9
                    association of counsel makes conspiracy factual.
to
it     109.   Defendants BANK OF AMERICA,N.A., JON SECRIST, and r1ICHOLE

12     CLAVENDETSHER have the same lawyer. Plaintiff questions the conflict of
13
       interest. Plaintiff is aware that Jon Secrist sued Bank of America, N.A. for
14

15     Assault, Libel and Slander in 2016. The Case #2:16-cv-00067 California Central
16
       Court with Judge Wu presiding. The summons and complaint are sealed and the
i~
       case settled in one month. Now he is using a lawyer representing Bank of America
18

19     N.A, him and robo signer Clavendetsher. Clavendetsher has a conflict with Secrist
20
       as it was him falsely notarizing her name that caused his notary bond to be taken in
21

22     insurance settlement to me. This alleged representation alludes to confirming
23
       conspiracy as the Defendants have conflict coming into this case with each other.
24
       As all three are claimed by Plaintiff to be in collusion through a conspiracy to take
25

26     her property it is Plaintiffls belief this association of counsel makes conspiracy
27
      factual.
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 51
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i      110.    When Quality Loan Servicing Corporation was a Defendant they filed to
2
      join Legal Representation with Commonwealth Land Title Insurance Company.
3

4
      Plaintiff contends this is a conflict as Commonwealth Land Title Insurance

5
      Company has a duty by contract to the Plaintiffto protect her title, not conspire
6
       with a Trustee to cover their false claims to assist other Defendants in taking her

s     title through a void contract.
 9
       1 11.   Plaintifffound that Commonwealth Land Title Insurance Company as First
io
11
       National Fidelity "FNF" & as their subsidiary Black Knight Financial, is a stock

12     holder in Crown Castle Communications. Crown Castle and Global Signal
13
       Acquisitions merger was just recently completed. Crown Castle Communications
14

15     is the party who allegedly had a cell tower contract to lease land from the Plaintiff.
16
      Plaintifffound the forged cell tower contract in 2014 and confronted FNF
i~
       regarding the refusal to honor the Title Policy she bought. Plaintiff sees the stock
18

19     ownership as a conflict of interest as FNF the Stock Holder as she was refused
20
       coverage that would have allowed her to remove the cell tower and believes that
21

22     Commonwealth's interest in the Stock was a conflict that created collusion between
23
       the entities against Plaintiff.(See E~iibits "S-W" and "X")
24
       1 12.   Plaintiff believes she can show a jury the two entities conspiring helped
25

26    ~ cause the refusal to honor her insurance. Plaintiff never got an answer to her
27
       request for transparency.(See E~ibit"D ")See links:
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 52
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1      https://finance.yahoo.com/news/crown-castle-announces-third-quarter-
2
       201500820.html ;just today researching investors Plaintifffound that Bank of
3

4
       America is a big investor in Crown

5      Castlehttps://finance.va600.com/quote/CCUholders/ and on page 36 of this link
6
       Bank of America N.A. is also involved http://investor.crowncastle.com/static-

8      files/1f7029c3-c921-4379-bd4c-466cbe622095;
 9
       http•//investor crowncastle.com/news-releases/news-release-details/crown-castle-
to
       present-bank-america-merrill-lynch-2018-media ;Crown Castle Overview
11

12     htt~•//investor crowncastle com/encrypt/files?file=nasdaq kms/assets/2018/08/01/1
13
       1-36-12/CCI Presentation July 18.pdf&file alias=33846
14

15     1 13.   On or about 2014 Crown Castle became a Real Estate Investment Trust
16
       http•//investor crowncastle com/news-releases/news-release-details/crown-castle-
1~
       nnnvPrt-rP~t
18

19        About Fidelity National Financial,Inc. Fidelity National Financial, Inc. is
20
          organized into
21

22        two groups, FNF Group(NYSE:FNF)and FNFV Group(NYSE: FNFV). FNF

23
          is a leading provider of title insurance, technology and transaction services to
24
          the real estate and mortgage industries. FNF is the nation's largest title
25

26        insurance company through its title insurance underwriters -Fidelity National
27
          Title, Chicago Title, Commonwealth Land Title, Alamo Title and National
Zs
                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 53
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i         Title of New York -that collectively issue more title insurance policies than any
2
          other title company in the United States. FNF also provides industry-
3

 4
          leading mortgage technology solutions and transaction services, including

5         MSP~,the leading residential mortgage servicing technology platform in
6
          the U.S., through its majority-owned subsidiaries, Black Knight Financial

8         Services and ServiceLink Holdings. FNFV holds majority and minority equity
 9
          investment stakes in a number of entities, including American Blue Ribbon
to
ii        Holdings, LLC, Ceridian HCM,Inc. and Del Frisco's Restaurant Group,Inc.

12        Plaintiff claims that the Defendants conspired together, created false
13
          documentation oftaxable events as nontaxable and in return unjustly collected
14

15        assets without lawful standing or lawful sale.(See E~ibit "Q" as an instance of
16
          tax avoidance)
i~
       1 14.   The 49 State National Mortgage Settlement ofthe 5 big servicers included
18

19    IRS transfer tax violation facts which were left open with ability for the
20
       government to readdress at any time. To review the settlement documents for each
21

22     servicer, go to link www.NationalMortgageSettlement.com .Although the
23
       settlement resolves some violations, the federal government and state attorneys
24
       general did not release all the potential claims against these five servicers..."or any
25

26     tax claims relating to real estate transfer taxes. Mortgage borrowers can still file
27
       claims on an individual or class action basis. Violations ofthe IRS have directly
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  54
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i ~ affected the Plaintiff as the Defendants as a whole got around the law by way of
2
      ~ "weaseling" in a void contract uttered as nontaxable exchanges and more unknown
3

4
      ~ to Plaintiff at this time.(See E~iibit "Q"),the purported "Notice of Trustee's Deed

5      Upon Sale", it shows zero taxable event when in fact the event is well over the
6
      $1.190,000.00 void contract figures due to alleged increase by fees and escrows

s      that Plaintiff does not owe. The document is also only recorded as an
 9
       accommodation without legal insurance oftruth or effect on title. And, see E~ibit
io
                          of SPS as servicer with an open account showing BILLIE
ii "GG","payoff statement
12     RENE POWERS as their "customer" when in fact the Defendants allege an August
13
       8,2016 credit bid to the Bank of New York Mellon as Trustee, though BONYM
14

15     denies it holds any right of title to the property(See E~ibit "JJ"). Plaintiff sought
16
       discovery ofIRS claims by Defendant Bank of America, for instance, the 8954
i~
       Form requested and unanswered or presented by Bank of America to her.(See
18

19     E~iibit "II" request for required IRS form 8954 to Bank of America).
20
       1 15.     Defendants acted in concert and conspired together to commit the tortuous
21

22     acts described herein, as result from the conversion ofthe contract with
23
       COUNTRYWIDE BANK,FSB. Accordingly,these Defendants should be held
24
       jointly and severally liable for any damages awarded to Plaintiff as a result ofthis
25

26     action.
27

28

                       PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 55
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i      116.For this ponzi scheme to work all involved, from the notaries, such as JON
2
       SECRIST, and Robo signers, such as NICHOLE CLAVENDETSCHER [T.
3

 4
       Sevillano/Ahmad Afzal], to the parties recording the documents for the alleged

5      lender as beneficiary, SELECT PORTFOLIO SERVICING,INC,MORTGAGE
6
      ELECTRONIC REGISTRATIONS SYSTEMS,INC,their assigns or

8      representatives, must stick together and protect each other's interest in the taking of
 9
       the properties to be perceived as lawful when in fact the conspiring in this case
to
li     proves sloppy and full of material facts of void.

12     COUNT II:
13
          VIOLATION OF HOMEOWNER'S BILL OF RIGHTS(HBOR)
14
          AS IT RELATES TO ONLY THE BANK OF NEW YORK MELLON
15
          F/K/A THE BANK OF NEW YORK,AS TRUSTEE,ON BEHALF OF
16

i~        THE HOLDERS OF THE ALTERNATIVE LOAN TRUST 2007-HY9,
18
          MORTGAGE PASS-THROUGH
19

Zo        CERTIFICATES SERIES 2007-HY9; SELECT PORTFOLIO

21
       SERVICING,INC.;
22
           MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC.
23

24     117.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs
25
       as though fully set forth herein. The Three Defendants, THE BANK OF NEW
26

27
       YORK MELLON F/K/A THE BANK OF NEW YORK,AS TRUSTEE,ON

28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 56
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 i    BEHALF OF THE HOLDERS OF THE ALTERNATIVE LOAN TRUST 2007-
 2
       HY9, MORTGAGE PASS-THROUGH
 3

 4
          CERTIFICATES SERIES 2007-HY9; SELECT PORTFOLIO SERVICING,

 5     ~C.;

 6
          MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC. have

 8     violated this bill.
 9
       1 18.   The national mortgage settlement was only applicable to the five settling
to
ii     banks and their customers; the Homeowner Bill of Rights extends the reforms

12     addressed in the national mortgage settlement to almost all mortgage lenders and
13
      servicers that conduct foreclosures in California. Borrowers will have authority to
14

15     seek redress of"material" violations ofthe new foreclosure process protections.
16
      Injunctive relief will be available prior to a foreclosure sale and recovery of
i~
       damages will be available following a sale.(AB 278, SB 900).
is
19        Homeowner's may sue the lender or servicer for material violations of certain
20
       sections ofthe California Homeowner Bill of Rights. Potential relief includes:
21

22       • injunctive relief(prior to the recording of a trustee's deed upon sale), or
         • actual economic damages if the trustee's deed upon sale has already been
23
           recorded.
24
          In addition, if the court finds that the violation was intentional, reckless, or
25

26        resulted from willful misconduct by a loan servicer or lender, the court may
27

28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  57
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 i        award the borrower the greater oftreble actual damages or statutory damages of
 2
          $50,000.
 3

 4     1 19.   California Code of Civil Procedure, Section 2923.7 states, upon request
 5
      from a borrower who requests a foreclosure prevention alternative, the mortgage
 6

       servicer must promptly establish a single point of contact and provide to the

 8
       borrower one or more direct means of communication with the single point of
 9
       contact. The "single point of contact" must be either an individual or team of
io
i1     personnel each of whom is knowledgeable about the borrower's situation and has
la
       the ability and authority to carry out specified types of activities relating to the
13

14
       borrower's situation such as ensuring that the borrower is considered for

15     foreclosure prevention alternatives offered by or through the mortgage servicer and
16
       informing the borrower about the status of his or her application.
i~
18
       120.    Upon Plaintiff's request to Select Portfolio Servicing, Inc. of a foreclosure
19
       prevention alternative, she was not provided a "single point of contact" who at any
Zo
21     time knew her case or her issues. Plaintiff was passed to the Ombudsman's office
22
       and still found lack of knowledge or follow through to help her. Plaintiff was
23

24
       promised documents and when it was found there were no genuine documents with

25
       wet ink signatures to produce SPS attorney Scott Hansen entered into a verbal
26
       contract with Plaintiff to negotiate and settle the matter. Plaintiff opened an
~~
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  ss
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 i    escrow to settle as requested by SPS believing that the fraudulent documents
 2
      would be cured by settlement.(see exhibit "D","CC,DD,EE,FF,GG,HH ")
 3

 4
      121.   Prohibition on "Robo signing", California Code of Civil Procedure, Section

 5    2924.17 says that declarations recorded pursuant to Sections 2923.5 or 2923.55,
 6
      notices of default, notices of sale, assignments of deeds oftrust, and substitutions

 8    of trustee recorded in connection with a nonjudicial foreclosure, and declarations
 9
      filed in court with respect to any foreclosure proceeding must be accurate and
io
ii    complete and supported by competent and reliable evidence. If a Contract is

12    breached it is void and unenforceable, leaving no standing for a party to pursue the
13
      contract. Before recording any of those documents, the mortgage servicer must
14

15    review competent and reliable evidence to substantiate the borrower's default and
16
      the right to foreclose, including the borrower's loan status and loan information.
l~
18
      Select Portfolio Servicing, Inc. was negligent at best and intentionally deceptive to

19    causing severe injury to Plaintiff. Robo-signing. Defendants Jon Secrist and
20
      Nichole Clavendetscher conspired and continue to conspire to use a void
21

22    assignment with robo signed signature of Clavendetscher as standing to enforce the
23
      void contract. Jon Secrist worked for Bank of America as a notary, also in the
24
      bankruptcy division. His name was used to create a void "Corporation Assignment
25

26    of Deed of Trust" against Plaintiffs property. Plaintiff found robo-signer Nichole
27
      Clavendetscher on the document,found misspellings," MERS" misidentified, false
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               59
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      claims of Clavendetscher being a MERS employee and based on the fraud and

      forgeries filed a notary bond claim against Secrist. Plaintiff prevailed and robo-

      signing was a direct claim she made against Clavendetscher based on the list used

      by Lyn Szysmoniac on the The 49 State National Mortgage Settlement. violations

      included, among other laws, the Unfair and Deceptive Acts and Practices laws of

      the Plaintiff States, the False Claims Act, the Financial Institutions Reform,

      Recovery, and Enforcement Act of 1989.
to
11
      See link; http•//www ncsl.or~/research/financial-services-and-commerce/national-
      mortga~e-settlement-summary.aspx
12

13       The Settlement addressed the crime of robosigning, among many other
         misconduct and crimes claimed herein. Additionally; Robo-Signing, Chain of
14
         Title, Loss Mitigation, and Other Issues in Mortgage Servicing: Hearing Before
15       the Subcomm. on Hous. and Comty. Opportunity ofthe H. Fin. Servs. Comm.,
         111th Cong. 105, at 18(2010)(statement of Adam J. Levitin, Associate
16
         Professor ofLaw, Georgetown University Law Center)[hereinafter Levitin
1~       Testimony],
         http://financialservices.house.govtMedia/file/hearings/111/Levitin11181 O.pdf.
18
         "The chain of title problems are highly technical, but they pose a potential
19       systemic risk to the US economy. If mortgages were not properly transferred in
20
         the securitization process, then mortgage-backed securities would in fact not be
         backed by any mortgages whatsoever. The chain of title concerns stem from
21       transactions that make assumptions about the resolution of unsettled law. If
22       those legal issues are resolved differently, then there would be a failure ofthe
         transfer of mortgages into securitization trusts, which would cloud title to
23
         nearly every property in the United States and would create contract
24       rescission/putback liabilities in the trillions of dollars, greatly exceeding the
         capital ofthe US's major financial institutions
Zs

26    122. Plaintiff won Secrist's notary bond claim for fraud and forgery on the Oct
27
      2010 Corporation Assignment ofDeed of Trust(See E~ibits "H-K"), also the
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                60
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1     other assignment for MERS by Ahmad Afzal(See E~iibits "N')This fact and the
2
      fact it was over 3 years late, makes that assignment VOID,not voidable. BofA
 3

 4
      National Association v Bassman FBT,LLC., et al. 981 NE 2d 1, 7 (Ill. App. Ct.

 5    2012 In this case it was cited "However, a borrower may raise a defense to an
 6
      assignment that would render it absolutely invalid, that is, VOID",id at 735-36;

 8    Tri-Cities Construction, Inc v American National Insurance Co., 523 S.W. 2d 426,
 9
      430(Tex. Civ. App. 1975)"The law is settled that the obligors of a claim may
io
ii    defend the suit brought thereon on any ground which renders the assignment

12    VOID, but may not defend on any ground which renders the assignment voidable
13
      only, because the only interest or right which an obligor of a claim has in the
14

15    instrument of assignment is to insure himself that he will not have to pay the same
16
      claim twice." See also Greene v Reed, 486 p. 2d 222,224(Ariz. Ct. App.
i~
      1971);CF Young v Chicago Federal Savings &Loan Assn, 180 I11.App. 3d 280,
18

19    284 1989 "If a valid assignment is effected, the assignee requires all ofthe
20
      interest ofthe assignor in the property that is transferred." O'Neill v. De Laney,
21

22    92 Il1.A~p.3d 292, 297(1980)(holding that third party could challenge validity of
23
      a contract where she established a "significant and direct interest" in its validity)
24
     [emphasis added]. Ibid .
25

26    123.    Defendants herein this cause permitted fraudulent real estate document to
27
      be recorded and an illegal auction to occur. Mortgage Electronic Registration
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                61
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 i    Systems, Inc., Jon Secrist and Defendant 1VICHOLE CLAVADETSCHER,robo
 2
      signature appears on recorded document; despite code specifying "the mortgage
 3

 4
      servicer must review competent and reliable evidence to substantiate the

 5    borrower's default. (see e~ibit "H-L ")
 6
      124. The law prohibits Dual Tracking. California Code of Civil Procedure, Section

 8   2924.18 states, if a borrower submits a complete application for a first lien loan
 9
      modification offered by, or through, the borrower's mortgage servicer, the
io
li    mortgage servicer shall not record a notice of default, record a notice of sale, or

12   conduct a trustee's sale while the complete application is pending, and until the
13
     borrower has been provided with a written determination by the mortgage servicer
14

15   regarding that borrower's eligibility for the requested loan modification. Dual
16
     tracking refers to the practice of moving ahead with the foreclosure process while
l~
18
     simultaneously evaluating a homeowner for a loan modification or other

19   assistance(See E~iibit "DD"-"HH")as Plaintiff was receiving "other assistance"
20
     to settle and negotiate the purported account with SPS(See E~ibit "CC-HH").
21

22   Plaintiff had an open escrow with SPS to modify and settle the false claims
23
     against her title and the auction was held, dual tracking occurred.
24
            Whether through negligence or malicious intent, dual tracking was a very
25

26   common practice in the industry, and HBOR was passed, in large part, to rein it in.
27
     Both large and small servicers are prevented from moving forward with
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                62
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 i   foreclosuresthrough recording a notice of default, notice oftrustee sale, or by
 2
     conducting the sale itself—while a complete, first lien loan modification is
 3

 4
     pending. The servicer must provide a written denial and wait for an appeal period

 5   to expire before moving forward with foreclosure. SPS did not send a denial letter
 6
     for the escrow and did not address Plaintiffs offer to tender, as they refused tender.

 8   In Plaintiffs case SPS agreed to negotiation settlement discussions and did not
 9
     follow through in good faith.
10

11    125.   California Code of Civil Procedure, Section 2924.19 provides a private

12   right of action against Smaller Residential Mortgage Lenders for material
13
     violations of Sections 2923.5, 2924.17 or 2924.18, and Section 2924.12 provides a
14

15   private right of action against Larger Residential Mortgage Lenders for material
16
     violations of Sections 2923.55, 2923.6, 2923.7, 2924.9, 2924.10, 2924.11, or
i~
     2924.17. After foreclosure, a borrower may recover actual economic damages
18

19   resulting from a material violation of any ofthose sections, where the violation
20
      was not corrected prior to the foreclosure. Ifthe material violation was intentional
21

22   or reckless or resulted from willful misconduct by the mortgage servicer, the court
23
     may award the borrower the greater of treble actual damages or statutory damages
24
     of$50,000. A prevailing borrower under either Section 2924.19 or 2424.12 may
25

26   be awarded attorney's fees and costs. Plaintiff believes SPS acted in willful
27
     misconduct and was intentionally reckless.
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               63
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 i    126.   The foregoing is in addition to any other rights, remedies, or procedures
 2
     available under any other law. A violation ofthe sections shall also be deemed a
 3

 4
     violation ofthe lender's license, and subject it to appropriate action by its licensing

 5   agency. Plaintiff has not been answered as to who or what the "lender" is
 6
     represented to be and as a matter offact, in court July 30, 2018 there was no

 8   current "lender" to identify, see e~ibit""attached, the transcript from that
 9
     hearing, the purported current "lender" is conjecture and confused the court,
to
it   Plaintiff and Defendants, no answer could be reached. Plaintiff stated the paper

12   could have been sold 60 different times by Defendants, she did not know who the
13
     current lender was supposed to be, but she knew none ofthe Defendants had
14

15   standing to take her property.
16
     127.    California Code of Civil Procedure, Section 2924(a)(6) was added stating
l~
     that no entity shall record or cause a notice of default to be recorded or
18

19   otherwise initiate the
20
         foreclosure process unless it is the holder of the beneficial interest under
21

22    the mortgage or deed of trust, the trustee under the deed oftrust, or the
23
      designated agent ofthe holder ofthe beneficial interest acting within the scope of
24
      its authority. Select Portfolio Servicing, Inc and The Bank of New York Mellon
25

26    as Trustee caused unlawful recorded documents to be uttered and recorded. No
27
      one can be holder in due course of a void contract and Defendants were given
28

                  PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               64
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      evidence enough to cause them to stop their damages against Plaintiff, the

      Defendants chose to ignore the evidence and proceed.

      127.   Plaintiff claims breach of contract related to the forgeries and misconduct

     ofthe Defendants violating this cause of action under HBOR. The forged Grant

     Deed, The forged and robo-signed Corporation Assignment ofDeed of Trust, The

     Forged Cell Tower Contract, to name three known (see E~ibits "B","G"-"L"):

     more may be known or unknown and found through discovery, yet all fall under
io
ii   the following CA Penal Codes; Recording false documents include in California:

12   for instance actions rose to the level of violations pursuant to;
13
           CA Penal Code ,~11S -felony(knowingly procures or offers false document
14
           for recording or filling);
15         CA Penal Code X11S.S -felony(recording false document affecting title);
           CA Penal Code X11S.S -felony (false sworn statement to notary);
16
           CA Penal Code §118 -felony (perjury).
i~         CA Penal Code X132 -felony (offering false evidence);
           CA Penal Code X134 -felony (preparing false document for deceitful
18
     purposes);
19         CA Penal Code ~470(a) -felony (forgery - no authorization to sign);
20
           CA Penal Code X470(c) -felony (forgery -falsified court evidence);
           CA Penal Code ~470(d) -felony (forgery -falsified acknowledgement);
21         CA Penal Code X471 -felony (forgery -falsifying records);
22         CA Penal Code ~ 471-felony (falsified acknowledgement);
           CA Penal Code ~' 475 -felony (forgery -facilitating passage of forged
23
     instrument);
24         CA Penal Code 484(a) -felony (fraudulent representation to defraud a
           person of money or real property);
25
           CA Penal Code 1189(a)(2)-felony (notary false statement);
26         Cal. Government Code 8225 -(Notary coercion);
2~
           Texas Government Code 406.009(6)-(Notary/Signatory fraud);
           Orange County Real Property Transfer Tax Code misdemeanor; and,
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               65
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 1            CA Penal Code 489(b)-felony(Grand Theft and grounds for)Pao Value
 2
             Properties, Inc. v. Quality Loan Service Corp., 170 Cal.- App. 4th 579,583
             (2009)
 3

 4
      128.    "The trustee in nonjudicial foreclosure is not a true trustee with fiduciary

 5
     duties, but rather a common agent for the trustor and beneficiary."(See Exhibit
 6
     "CC "Plaintiff sent to Defendants in October 2015)The Trustee had a duty to both

 8   Plaintiff and also to an unknown alleged beneficiary, but Plaintiff claims the
 9
     Trustee sale was void due to breach of contract, biased and unlawful without any
io
ii   concern by the Trustee acting for SPS to the integrity ofthe action and had a

IZ   complete disregard for the law or forgeries.
13
     129.     Defendants SPS and BONYM,MERS violations of dual tracking, robo-
14

15   signing, to name two and not to be inclusive but a piece ofthe HBOR violations,
16
     not proving that they have standing or authority to act against the Plaintiff and
l~
18
     these malicious actions and their unclean hands have caused Plaintiff injuries, and

19   such violations ofthe HBOR is the proximate cause of those un-liquidated
20
     damages. Plaintiff had her equity down payment of $510,000.00 stripped, her
21

22   payments that are still not correctly calculated by documents but in excess of
23
     $1,000,000.00. Plaintiff lost the equine therapy animals, home,land, personal
24
     belongings, family heirlooms, and the inheritance ofPlaintiff's children, as
25

26   interested parties and heirs. Plaintiff has lost good health, happiness and security.
27
     Plaintiff lost the ability to trust law enforcement or public servants. The
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                66
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 1   Defendants have taken all ofPlaintiffs trust in the judicial system as Plaintiff fears
 2
     prejudice and bias due to being treated as an indigent by both when in fact Plaintiff
 3

 4
     is the Real Party of secured interest.

 5   130.    Plaintiff has a Notice of Default, filed in the Orange County Land Records
 6
     July, 2015,(See E~ibit "D")without rebuttal by Defendants, in the amount of

 8   $15,300,000.00 and a writ oftort for another $15,100,000.00 combined and
 9
     verified in escrow. These are verifiable damages.
io
it   131.    Under HBOR Home owners Bill of Rights(4) violation of Business and

12   Professions Code section 17200; and(5)accounting. The Defendants
13
     SPSBOrTYM/MERS have entered documents into the court that have material
14

15   defects and create unfair disadvantage and injury for the Plaintiff when the court
16
     views them as fact, when in fact Plaintiff brings evidence that proves the material
17

18
     defects with use ofrobo signers and false notaries. These documents are uttered to

19   the court to give a false perception of a contract existing and standing the
20
     Defendants as a whole do not have against these claims. To include, but not be
21

a2   exclusive ofothers Plaintiff brings more claims ofinjury for, these documents;
23
     132.    T. Sevillano's name appears on two(2)documents Defendants' have
24
     presented to the Court previously known as "M","N"and void for facts in evidence
25

26   Plaintiff proves. Notice ofDefault and Election to Sell Under Deed ofTnist Doc
27
     #2010000213610 recorded May 6,2010(See E~ibit"M"). It claims a default on May 4,
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 67
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 1     2010 to Bank ofNew York Mellon as Trustee,and it is signed by Betty Jo Livingston as an
 2
       agent for the "beneficiary" Recontrust Company,N.A. The document attached with it is
 3

 4     California Declaration was signed by a T.A.Simmons with false claims ofspeaking to

 5     Plaintiffon April 15,2010.
 6
                a Document filed without assignment ofCorporate Deed ofTnist to the BONYM

 8                 as Trustee.
 9
                b. Recontrust Company, N.A. was removed in July 2008 as Trustee
io
ii                 replaced by ReconTrust Company. Defendants E~ibit"E"known as

12                 Substitution ofTrustee. Another was recorded in Riverside County.
13
                c. The name ofBONYM as Trustee does not match the alleged name
14

i5                 currently on Plaintiff's title.
16
                d. The Declaration was created April 15, 2010, and again, no assignment.
17
                e. Debt Collectors and Attorneys' have relied upon this document and
18

19                 presented as fact at the time to proceed in an election to sell under the
20
                   Contract known as a Deed of Trust, which caused Plaintiff extreme
21

22                 stress and severe emotional injury, when in fact it is a void instrument

23
                   ab initio.
24
                f. T. Sevillano is the named party to return the document to c/o
25

26                 ReconTrust Company.
27

f~S~

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                     68
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 i             g. The document lacks the notice that it is an attempt to collect a debt as
 2
                  required.
 3

 4
     133. "I" Corporate Assignment ofDeed ofTnist Doc #2010000234975 recorded

 5    May19,2010.This document claims to assign the con~a,ct to The Bank ofNew York Mellon
 6
     as Tnastee allegedly signed by Ahmad Afral and notarized on May 10,2010 by T. Sevillano

 8   as Assistant Secretary ofMortgage Electronic Regis~trazion Systems,Inc. This document is
 9
     over 3 years pastthe cutoffdate ofJuly 1,2007 required in the Pooling and Servicing
io
it   agreement and Prospectus.

12   134. The Document has been notarized to include two(2)known robo signers,
13
     Ahmad Afzal and T. Sevillano. Ahmad Afzal's name is in Block Letters, with
14

15   signature not being legible. The Date of May 4, 2010 is written in at the time of
16
     the notary, not a valid date and used to give an appearance of happening the same
l~
     day as the NOD with Sevillano's name on it. This was deceptive, intentional and
18

19   malicious intent to file a forged document.
20
     135.     Plaintiff had filed a notary bond claim for Afzal's document and was denied
Zi
z2   only due to the fact that said bond was already being paid out for fraud by a
23
     judgment. Plaintiff was two(2) weeks too late to join in the Action.(See E~ibit
24
     nO~~lI
25

26   136. Corporation Assignment ofDeed ofTnist Recorded October 26.2010 as doc#
27
     2010000564031.
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  69
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 1              a.Plaintiffwas awarded the notary bond ofJon Secrist for her forgery and robo
 2
               S1gCllrig C1~1TY1
 3

 4              b.Nichole Clavendetshcer is a Down robo signer

 5
               c.This document is three(3)years pastthe cutoffdate
 6
       r~Tr~Tm TTT.
 7
       PROMISSORY ESTOPPEL
 8

 9     AS RELATING TO DEFENDANTS COMMONWEALTH LAND TITLE
10
       INSURANCE COMPANY
11

12
       137.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs

13
       as though fully set forth herein.
14
       138.    Promissory estoppel serves as a "consideration substitute" in purported
15

16     ~ contract law that renders certain promises otherwise lacking in consideration
17
       binding and enforceable. In such cases, the promisee's reliance is treated as an
18

19
       independent and sufficient basis for enforcing the promise. Promissory estoppel

Zo     can be viewed as a legal device that prohibits the promissor from denying the
21
       existence of a purported contract for lack of consideration.
22

23     139. In general, the elements of promissory estoppel are: 1)a promise reasonably
24
       expected by the promisor to induce action or forbearance; 2)action or forbearance
25

26
       by the promisee in justifiable reliance on the promise (i.e. "detrimental reliance");

27     3)injustice can be avoided only through enforcement ofthe promise.
P~:~

                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                   70
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 i   140. Plaintiffs entire life (family, friends, work, fellowship...) relied on the
 2
     promise that was made to her when she purchased her home and Title Insurance to
 3

 4
     protect her Title Integrity. For the past eleven(11)years, Plaintiff has been in a

 5   fragmented state of mind, unable to stay focus, due to the on-going high level of
 6
     stress in her life, inflicted by Commonwealth Land Title Insurance Companies

 8   failure to perform under the terms ofthe Title Insurance Contract owned by
 9
     Plaintiff.
to
li   141. As a direct and proximate result ofthe Defendants' conduct, Plaintiff has

12   been damaged in an amount to be established at trial, but not less than the NOD
13
     she filed July 13, 2015 (See E~ibit "D").
14

15   142. As a result, Plaintiff has suffered physical, psychological, emotional, and
16
     economic damages. Defendants' have caused Plaintiff damages, and such breach is
1~
     the proximate cause of those un-liquidated damages. Plaintiff had her equity down
is
19   payment of $510,000.00 stripped, her payments that are still not correctly
20
     calculated by documents but in excess of $1,000,000.00. Plaintiff lost her equine
21

22   therapy animals, she lost her home,land, personal belongings, family heirlooms,

23
     and the inheritance of her children, as interested parties and heirs. Plaintiff has lost
24
     her health, happiness and security. Plaintiff lost her ability to trust law enforcement
25

26   or public servants, the Defendants have taken all of Plaintiffs trust in the judicial
27

28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                71
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 i    system as she fears prejudice and bias due to being treated as an indigent by both
2
      when in fact she is the Real Party of secured interest.
 3

 4    COUNT III

5    PROMISSORY ESTOPPEL AS RELATING TO DEFENDANTS,
6
      THE BANK OF NEW YORK MELLON F/K/A THE BANK OF NEW

      YORK,AS TRUSTEE,ON BEHALF OF THE HOLDERS OF THE
8

 9    ALTERNATIVE LOAN TRUST 2007-HY9,BANK OF AMERICA,N.A.;
10
      MORTGAGE PASS-THROUGH CERTIFICATES SERIES 2007-HY9;
li
is    SELECT PORTFOLIO SERVICING,INC.;

13
      MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC.;
14
      JON SECRIST; NICHOLE CLAVADETSCHER
15

16    143.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs
17
      as though fully set forth herein and realleges her claims in the Promissory Estopple
18

19
      of COMMONWEALTH LAND TITLE INSURANCE.

Zo    144. Promissory estoppel serves as a "consideration substitute" in purported
zi
         contract law that renders certain promises otherwise lacking in consideration
22

23       binding and enforceable. In such cases, the promisee's reliance is treated as an
24
         independent and sufficient basis for enforcing the promise. Promissory estoppel
25
         can be viewed as a legal device that prohibits the promisor from denying the
26

a~       existence of a purported contract for lack of consideration.
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                72
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1     145. In general, the elements of promissory estoppel are: 1)a promise reasonably
2
        expected by the promisor to induce action or forbearance; 2)action or
3

 4
        forbearance by the promisee in justifiable reliance on the promise (i.e.

 5      "detrimental reliance"); 3)injustice can be avoided only through enforcement
 6
         ofthe promise.

 8   '•        Plaintiffls entire life (family, friends, work, fellowship...) relied on the
 9
         promise that was made to her when she purchased her home and Title Insurance
io
li      to protect her Title Integrity. For the past eleven(11) years, Plaintiff has been

12       in a fragmented state of mind, unable to stay focus, due to the on-going high
13
         level of stress in her life, inflicted by Defendants failure to be transparent and
14

15       not having a meeting ofthe minds.
16
      147.     As a direct and proximate result ofthe Defendants' conduct, Plaintiff has
l~
         been damaged in an amount to be established at trial.As a result, Plaintiff has
18

19       suffered physical, psychological, emotional, and economic damages.
20
         Defendants' have caused Plaintiff damages, and such breach is the proximate
21

22       cause ofthose un-liquidated damages. Plaintiff had her equity down payment
23
         of$510,000.00 stripped, Plaintiffs payments that are still not correctly
24
         calculated by documents but in
25

26      excess of$1,000,000.00. Plaintiff lost her equine therapy animals, she lost her
27
      home,land, personal belongings, family heirlooms, and the inheritance of her
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                73
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 1    children, as interested parties and heirs. Plaintiff has lost her health, happiness and
 2
      security. Plaintiff lost her ability to trust law enforcement or public servants, the
 3

 4    Defendants have taken all of Plaintiffs trust in the judicial system as she fears

 5
      prejudice and bias due to being treated as an indigent by both when in fact she is
 6
      the Real Party of secured interest.
     .r~TT,.T.,, ~T
 8

 9    BREACH OF CONTRACT
10
      AS IT RELATES TO COMMONWEALTH LAND TITLE INSURANCE
11

12    COMPANY

13
       148.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs
14
      as though fully set forth herein. Plaintiff is required to plead and show specific
15

16    elements: (1)The existence of a purported contract;(2)Plaintiff's performance
17
      or excuse for nonperformance;(3)Defendant's breach, and (4)Damages to
18

19
      Plaintiff there from.(See E~ibits "T-V")Plaintiff factually claims that her Title

20    Policy is a breached contract. WhatIs a Title Company?
21
      link;hops://www.legalmatch.com/law-library/article/title-company-lawsuits.html
22

23       A title company is a company that provides title insurance for property owners.
24
         The title insurance provides protection from the owner, and sometimes
25
         mortgage lenders, from any legal claims or lawsuits connected with the
26

27

28

                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                74
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 i       property title. In addition to title insurance, title companies also handle a
 2
         number of different tasks. For instance, they also:
 3

 4          Check to ensure that a title is true, legitimate, and free of any defects that
 5
            might hinder a sale or transfer of property. This includes performing a title
 6

            search with the county recorder of deeds to ensure that no other person owns
 8
            the property and that there are no disputes or claims on the title; Check for
 9
            any liens,judgments, mortgages, or unpaid taxes; Check for any easements,
to
Zi          leases, or other issues that might affect ownership ofthe property; Request
12
            and oversee a property inspection and boundary inspection, to ensure that
13

14          there are no conflicts regarding fences, boundaries, and encroachments onto

15
            the surrounding property areas; Maintain real estate trust fund accounts and
16
            escrow accounts; Ensure that all titles, deeds, and other documents are
i~
is          recorded and filed in the appropriate manner. Common Legal Issues
19
            Associated with Title CompaniesWorking with a title company can help a
20

21
            property transaction go more smoothly. However, title companies can also

22          be associated with some specific types of legal disputes. These include...
23
        • Breach ofcontract between the property owner and the title company
24

25          Title companies and their agents are generally held to a certain standard
26
            when it comes to the thoroughness and accuracy oftheir work. Ifthe
27

28
            homeowner or potential buyer feels that the company or their agent did not
                    YLAlN l lr r~'S V r;Klr lr;ll r U UK l H AMEN llr;ll C;UMYLAlN l
                                                       75
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 i          exercise reasonable efforts in performing their duties, they might be able to
 2
            hold the title company...liable for losses connected with the transaction...
 3

 4
      149. The Title Insurance Policy was issued by COMMONWEALTH LAND

 5    TITLE INSURANCE COMPANY through Equity Title Company as their agent.
 6
      150. Defendant COMMONWEALTH LAND TITLE INSURANCE COMPANY,

 s    as a Title Insurance Company. Required by COUNTRYWIDE BANK FSB
 9
      purported contract to give clear title in order for Purported contract to be executed.
io
11
      Plaintiff contacted the Title Insurer as evidence offorgeries, clouds on title, void

12    contracts and easement issues were found.(See Exhibit "T")
13
      151. Defendant denied coverage and refused to help Plaintiff with her landlocked
14

15    title policy and forged grant deed, forged Cell Tower Contract.
16
      152. Plaintiff was forced to contact the California Insurance Commission
17
      153. Plaintiff spent 2 years seeking approval and help from Title Insurance only to
18

19    have one issue begin remedy, that issue was no legal easement. This ended in
20
      November 2016 after the auction sale took Plaintiffs title. Although,the Title
21

22    insurance is clear that Plaintiff does not have to be on title in order to pursue
23
      damages to her title that existed at he time the insurance was issued.
24
      154. The Cell Tower Company, Crown Castle Communications, does not have a
25

26    legal easement or contract recorded in Orange County California in 2007,they
27
      only filed a document during the time escrow was open, May 2007, and it was
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 76
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 1    deceptively placed in Los Angeles County Records, later to be recorded in Orange
 2
      county years later. In 2014 Plaintiff was sent a document by representatives of the
 3

 4    Cell Tower Company and what they sent showed a void contract, it was signed

 5    before existing. It was notarized on May 5, 2007 but the contract was actually
 6
      dated May 10, 2007, notarized 5 days before existence. Commonwealth refused to

 s    help and Plaintiff experienced Orange County Sheriff Swat teams without warrant,
 9
      on or about October 2015, trespass and Sheriffs forced Plaintiff to give a right of
to
ii    way to the Cell Tower employees through a gate on Los Robles street, that Plaintiff

12    does not have an easement to give.
13
      155. Plaintiff spent countless hours sending evidence and proof of void contract to
14

15    all Defendants and their representatives and assigns, evidence and proof that
16
     Plaintiff believes Commonwealth as her Title Insurer should have done for her.
i~
      The amount of extreme forgeries and uttering of false claims against Plaintiffs
18

19    property could have ended in 2012 When the Title Company was first contacted,
20
      but the damages escalated in severity and today Plaintiff is homeless due to the
21

22   forged documents and void contract defending Plaintiff's life and property against

23
     the very parties who she paid to protect and defend her title for her as paid to do.
24
     Plaintiff brought valid claims for coverage to be granted by Title Insurance; The
25

26   forged Grant Deed dated Apri127, 2007; The forged and robo-signed Corporate
27
      Assignment ofDeed of Trust dated October 10, 2010 but required to be in the
Zs
                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               77
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      Trust at closing July 1, 2007; The Forged Cell Tower Contract dated May 10,

     2007. Plaintiff names three known, more may be known or unknown and found

     through discovery, yet all fall under the following CA Penal Codes;(see Exhibit

     "CC")

      156. Recording false documents include in California: for instance, actions rose to

     the level of violations pursuant to;

            CA Penal Code X11S -felony(knowingly procures or offers false document
io          for recording or filling);
li          CA Penal Code ~I1S.S -felony (recording false document affecting title);
            CA Penal Code ~I1S.S -felony (false sworn statement to notary);
12          CA Penal Code §118 -felony (perjury).
13          CA Penal Code X132 -felony (offering false evidence);
            CA Penal Code X134 -felony (preparing false document for deceitful
14
            purposes);
15          CA Penal Code ~470(a) -felony (forgery - no authorization to sign);
            CA Penal Code X470(c) -felony(forgery -falsified court evidence);
16
            CA Penal Code ~470(d) -felony(forgery -falsified acknowledgement);
i~          CA Penal Code x'471 -felony (forgery -falsifying records);
18
            CA Penal Code ~ 471 -felony (falsified acknowledgement);
            CA Penal Code ~ 475 -felony (forgery -facilitating passage of forged
19          instrument);
Zo         CA Penal Code 484(a) -felony (fraudulent representation to defraud a
           person of money or real property);
21
           CA Penal Code 1189(a)(2)-felony (notary false statement);
22         Cal. Government Code 8225 -(Notary coercion);
           Texas Government Code 406.009(6)-(Notary/Signatory fraud);
23
           Orange County Real Property Transfer Tax Code misdemeanor; and,
24         CA Penal Code 489(b)-felony(Grand Theft and grounds for)Pro Value
          Properties, Inc. v. Quality Loan Service Corp., 170 Cal. App. 4th 579, 583
25
          (2009)
26

27

28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                              7s
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      157. FEDERAL FORGERY LAWS AND PENALTIES. Plaintiff claims that the

     three(3)documents herein mentioned above, the forged Grant Deed dated April

     27, 2007; The forged and robo-signed Corporate Assignment ofDeed of Trust

     dated October 10, 2010 but required to be in the Trust at closing July 1, 2007; The

     Forged Cell Tower Contract dated May 10, 2007 but notarized 5 days prior, fall

     under Federal forgeries as "uttering false instrument". Without the forgeries

     Plaintiff would still have possession of all her property and not have the injuries
to
li   she has sustained from the Defendants. Commonwealth Land Title Insurance

IZ   Company was paid for Plaintiffs Title policy to protect her from this kind of title
13
     theft and her Title Policy has been breached for failure of Commonwealth Land
14

15   Title Insurance Company to perform.
16
            Forgery (also known as "uttering a false instrument")is a serious offense,
1~   punishable as a felony in all fifty states and by the federal government. Forgery
     involves the making, altering, use, or possession of a false writing in order to
18
     commit a fraud. It can occur in many forms, from signing another person's name
19   on a check to falsifying one's own academic transcript. When the subject offorgery
20
     is currency, it is also referred to as counterfeiting.

21         "forging another person's signature on a document is a material alteration
22         because it misrepresents the identity ofthe person who signed the document,
           which has serious legal consequences. Deleting, adding, or changing
23
           significant portions of documents may also be "material" alterations, if these
24         changes affect the legal rights or obligations represented in the documents.
           Additionally, as discussed above, using or possessing false writings also
25
           constitutes forgery, although in some jurisdictions this is known as "uttering
26         a forged instrument."...
27

28

                  PLAINTIFF'S VERIFIED FOiJ~TH AMENDED COMPLAINT
                                               79
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              A false writing: Not all writings meet the definition offorgery. To serve as
              the basis for forgery charges, the writing in question must have both legal
              significance and be false, as discussed below.

              The writing must have apparent legal significance. In order to be
              punishable as forgery, the writing in question must have apparent legal
              significance. This includes government-issued documents such as drivers'
              licenses and passports; transactional documents such as deeds, conveyances,
              and receipts; financial instruments such as currencies, checks, or stock
              certificates; and other documents such as wills, patents, medical
              prescriptions, and works of art.
              Federal Anti-Forgery Laws. Although forgery is most commonly
              prosecuted at the state level, certain types of forgery are also considered
to            felonies under federal law. For example, identitytheft, a type offorgery
11
              wherein a person forges a writing in order to assume the identity of another,
              is a felony under federal law, punishable by a fine and many years'
12            imprisonment. Federal law also prohibits other types of forgery, such as
13            counterfeiting money; forging federal documents like immigration
              documents or military discharge certificates; or forgery intended to defraud
14
              the federal government. Forgery also automatically becomes a federal
15            offense if a forged document is carried or mailed across interstate lines, or if
              the forgery occurs in multiple states.
16

17
       158.      Defendants' breach has caused Plaintiff damages, and such breach is the
18

19    proximate cause ofthose un-liquidated damages. Defendants would not honor their
20
      Title Insurance Contract as Plaintiff had paid for them too. Plaintiff had her
21

22
      driveway defaced by a fake survey taking some of her driveway and Defendants

23    did nothing to assist. Plaintiff had her equity down payment of$510,000.00
24
      stripped, her payments that are still not correctly calculated by documents but in
25

26    all it is in excess of$1,000,000.00. Plaintiff was swat teamed without warrant by
27
      DC Sheriffs, she was threatened by Deputies and had trespass of her property due
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  so
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 81 of 100 Page ID
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 i    to disagreements with easements, she lost her equine therapy animals, she lost her
 2
       home,land, personal belongings, family heirlooms, and the inheritance of her
 3

 4
       children, as interested parties and heirs. Plaintiff has lost her health, happiness and

 s     security. Plaintiff lost her ability to trust law enforcement or public servants, the
 6
      Defendants have taken all ofPlaintiffs trust in the judicial system as she fears

 8     prejudice and bias due to being treated as an indigent by both when in fact she is
 9
       the Real Party of secured interest.
Zo
it     Nationwide Life Ins. Co. v. Commonwealth Land Title Ins. Co., Order at 1, No. OS-

la     281 (E.D.Pa. Mar. 23, 2011), ECF No. 67.
13
              Conclusion;"We will affirm the District Court's holding that the ALTA 9
14
              Endorsement insures against any loss sustained from an instrument that is
15            covered by the plain language of¶ 1(b)(2). This case will return to the
              District Court for the determination of damages owed to Nationwide."
16

17

18        COUNT IV
19        BREACH OF CONTRACT AS IT RELATES TO DEFENDENTS
20        SELECT PORTFOLIO SERVICING,
21        MORTGAGE ELECTRONIC REGISTRATION SYSTEM,
22        THE BANK OF NEW YORK MELLON AS TRUSTEE
23

24     160.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs
25
       as though ftilly set forth herein. Plaintiff is required to plead and show specific
26

27     elements: (1)The existence of a purported contract;(2)Plaintiffls performance or
28

                     PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  81
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 i     excuse for nonperformance;(3)Defendant's breach, and(4)Damages to Plaintiff
 2
      there from.
 3

 4
       161.     (1)The Deed of Trust in this case is an unenforceable purported contract

 5     under CALIFORNIA law. The purported Deed of Trust defines "Lender" as
 6
      "COUNTRYWIDE BANK,FSB". Purportedly funded July 2, 2007,$1,190.000.00
 7

 8     and a $510,000.00 down payment, plus fees, was made by Plaintiff. When
 9
      Countrywide Employees told Plaintiff she had to stop payments in order to seek
io
ii     assistance, creating a breach of contract and as successors as Beneficiary Select

12    Portfolio Servicing should be the likely party responsible to this breach.
13
       162.    (1) MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,INC" is
14

15     allegedly defined as "a separate corporation that is acting solely as a nominee for
16
      Lender and Lender's successors and assigns ...MORTGAGE ELECTROl~]IC
i~
      REGISTRATION SYSTEMS,INC is a beneficiary under this Security Instrument
18

19    ..." Plaintiff will show the jury how MORTGAGE ELECTRONIC
20
      REGISTRATION SYSTEMS,INC is a concealed patent and trademark that is not
21

22    authorized to be a beneficiary or authorized to do business in California at the time,
23
      the Contract was created.(3) The term `Lender' includes any holder of the Note
24
       who is entitled to receive payments under the Note." Only the "Lender" can
25

26    foreclose on the property. Plaintiffs purported Note was secured by a void
27
      Contract. Plaintiff bas already produced evidence that there is no original
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                82
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 83 of 100 Page ID
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 i     note and that SPS entered into a negotiation to settle after this fact was made
 a
       known in their office in Utah.(See Exhibit "CC"-GG")SPS Attorney Scott
 3

 4
      Hansen breached his contract with Plaintiff when he failed to negotiate and settle

 5
      the matter.
 6
       163.    Plaintiff gives evidence established in fact herein that there is no genuine

 8     promissory note or contract in this case as fact shown in the meeting ofFebruary
 9
      2016 in the SPS Utah office where no genuine documents, for the 3rd time were
10

11    able to be produced and SPS Attorney Scott Hansen contracted to negotiate and

IZ    settle the account.(See E~ibit "CC" -"GG" escrow documents regarding
13
      settlement)
14

15     164.   The party under the Deed of Trust taking property must be a "Lender" as
16
      the Deed of Trust defines "Lender." No Defendant is or can be a "Lender" with
i~
      power to foreclose because the Deed of Trust defines "Lender" to "include "any
18

19    Note Holder," and no Defendant can prove it holds or held the Note and in FACT
20
      Plaintiff proved there is no original wet ink signature document. The only other
21

22    party that can be a "Lender" under the Deed of Trust, other than the Note Holder,
23
      is the original lender, who sold the Note along the chain of securitization years ago
24
      and destroyed the NOTE.
25

26     165.   In order for the original lender to sell the Note they must abide by the Deed
27
      of Trust which states the Note must be sold "together with the security
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                83
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 84 of 100 Page ID
                                       #:5609



 1    instrument." No Defendant properly transferred the Note "together with" the Deed
 2
      of Trust; therefore, no Defendant is a "Lender" with the right to foreclose under the
 3

 4
      Deed of Trust.

 s     166.   Defendants have breached the Deed of Trust by causing to be filed
 6
      documents in the Real Property records indicating they have a secure interest under

 8    the contract as Deed of Trust when they do not and cannot act as a "Lender" under
 9
      that instrument.
to
it     167. Defendants Select Portfolio Servicing, Inc falsely appear on Insurance

12    Documents as the "mortgagee". SPS is not the "holder in due course,"Lender" or
13
      "Mortgagee" and could not have recorded documents without the consorted effort
14

15    of other Defendants.
16
       168. Defendants' breach has caused Plaintiff damages, and such breach is the
1~
      proximate cause ofthose un-liquidated damages. Plaintiff had equity down
18

19    payment of $510,000.00 stripped, Plaintiff's payments that are still not correctly
20
      calculated by Documents. Plaintiff lost equine therapy animals, home,land,
21

22    personal belongings, family heirlooms, and the inheritance ofPlaintiff's children,
23
      as interested parties and heirs. Plaintiff has lost her health, happiness and security.
24
      Plaintiff lost her ability to trust law enforcement or public servants, the Defendants
25

26    have taken all of Plaintiffs trust in the judicial system as Plaintiff fears prejudice
27
      and bias due to being treated as an indigent by both when zn fact Plaintiff is the
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                 84
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 85 of 100 Page ID
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 i     Real Party of secured interest. Plaintiff has a Notice of Default, filed in the Orange
 2
       County Land Records July, 2015, without rebuttal by Defendants, in the amount of
 3

 9
      $15,300,000.00 and a writ oftort for another $15,100,000.00 combined and

 5     verified in escrow. These are verifiable damages.(See E~ibit "D")
 6
       COUNT V:

 8     UNFAIR COMPETITION LAWS(UCL)
 9
       AS IT RELATES TO ALL DEFENDANTS,
to
i~    OMITTING BANK OF AMERICA,N.A. AND THOMAS PEPPERS

12     169. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
13
      though fully set forth herein.
14

15     170. Defendants, omitting BofA, N.A. and Thomas Peppers, are a business that
16
      have engaged in acts or practices that are unlawful and unfair with respects to their
i~
      dealings with and concerning Plaintiff.
18

19     171. California state courts have repeatedly held that all that is necessary to
20
      establish a violation of B&P § 17200 et seq., is to show that the defendant is a
21

22    business engaged in acts or practices that are unlawful, fraudulent or unfair."
23
      Daugherty v. American Honda Motor Co., Inc. (2006) 144 Cal. App. 4th 824, 837.
24
      The government ofthe United States sees Defendants as using unlawful,fraudulent
25

26    or unfair practices too; UNITED STATES OF AMERICA Before the SECURITIES AND
27
      EXCHANGE COMMISSION v BANK OF NEW YORK; INVESTMENT COMPANY ACT
28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                            85
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 i     OF 1940 Release No. 32151/ June 13, 2016 ADMINISTRATIVE PROCEEDING File No. 3-

 2     17286. All Defendants, less Peppers have cases involving the government bringing cases against
 3
      them for such.
 4
       172. The unlawful practices prohibited by the statute are any practices forbidden
 5

 6     by law, be it civil or criminal, federal, state, or municipal, statutory, regulatory, or
 7
      court made. Saunders v. Superior Court(1994)27 Cal. App. 4th 832, 838-39.
 8

 9
       173. An unlawful business practice or act is "unfair" when it "offends an

to    established public policy or when the practice is immoral, unethical, oppressive,
li
      unscrupulous or substantially injurious to consumers. People v. Casa Blanca
12

13    Convalescent Homes,Inc. (1984) 159 Cal. App. 3d 509, 530.
14
       174. Plaintiff alleges that Defendants' conduct, to include and as already stated in
15

16
      E~ibits to the individual Defendants and their participation, uttering false claims

l~    and documents, recording documents with known forgeries, not removing falsely
18
      recorded documents all constitute an unfair business act or practice under Bus. and
19

20    Prof. Code 17200, violating numerous Federal laws pertaining to residential real
21
      property. Defendants' conduct has inflicted and continues to inflict harm onto
22
      Plaintiff, such conduct is without any legitimate business justification, and such
23

24    conduct offends established public policy and is immoral, unethical, oppressive,
25
      unscrupulous and substantially injurious to Plaintiff and to the public at large. The
26

27

28

                       PLAINTIFF'S VERIFIED FOURTH AIt~~NDED COMPLAINT
                                                    s6
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 87 of 100 Page ID
                                       #:5612



 i     harm to Plaintiff caused by Defendants' conduct far outweighs any alleged benefits
 2
      that Defendants might claim.
 3

 4
       175. Defendants' unlawful business practices were intentional, malicious and

 5    oppressive, which has physically harmed Plaintiff, thereby entitling Plaintiff to

 6    recover punitive damages in an amount to be determined at trial.
      Defendants' unlawful business practices together has caused Plaintiff a
 8    disadvantage in stopping the damages, and such deceptive actions are the
 9    proximate cause ofthose un-liquidated damages. Plaintiff had her equity down
io    payment of$510,000.00 stripped, her payments that are still not correctly
11    calculated by documents but in excess of$1,000,000.00 and through further
12    Discovery Plaintiff will show unjust enrichment to Defendants. Plaintiff lost her
13
      equine therapy animals, she lost her home,land, personal belongings, family
14
       heirlooms, and the inheritance of her children, as interested parties and heirs.
15
      Plaintiff has lost her health, happiness and security. Plaintiff lost her ability to trust
16
      law enforcement or public servants, the Defendants have taken all ofPlaintiffs trust
17
      in the judicial system as she fears prejudice and bias due to being treated as an
18
      indigent by both when in fact she is the Real Party of secured interest and real
19
      holder in due course.
20
      Plaintiff has a Notice of Default, filed in the Orange County Land Records July,
21
      2015, without rebuttal by Defendants, in the amount of $15,300,000.00 and a writ
22
      oftort for another $15,100,000.00 combined and verified in escrow. These are
23
      verifiable damages.(See E~ibit "D ")
24

25

26
      IN SUPPORT OF ALL C~JSES OF ACTIONS AND CLAIMS OF

27
      PLAINTIFF

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                                  s7
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 88 of 100 Page ID
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       176. Defendants have all claimed they are without liability to the origination of
       the contract and therefore have no liability to the Plaintiffs injury or to
       congressional or other financial laws or regulations for such, but legal intent is
       clear as successors claiming holder in due course status for standing they are
       required to follow lending rules and regulations and when in fact any void is found
       successors have a fiduciary duty to the injured party, and to the court not to
       intentionally utter false claims. Defendants cannot weasel out oftheir liability to
       the Plaintiff for injuries they participate in directly, or indirectly through uttering
to
       and recording of false claims and forged documents filed with the courts by merely
11
       claiming they have nothing to do with the origination. All Defendants have lawful
12
       and legal responsibility not to participate in false claims and a Jury must hear the
13
      Plaintiffs evidence and facts as the evidence will clearly show all Defendants are
14
       responsible to the Plaintiff for injuries as she claims.
15
              A.MA~~ING SENSE OF SUCCESSOR LIABILITY By MARIE T.
16
       REILLY,PENN STATE LAW.Link is provided in it's entirety as supportive of all
i~
       ofPlaintiffs claims and causes herein.
18

19
       https://elibrary.law.psu.edu/cgi/viewcontent.cgi?article=1135&context=fac_works

20
       page 4..."The other two bases for successor liability reflect the same equitable

21     intuition. When the transferee, although technically distinct, is sufficiently similar

22     to the transferor, the court declares the transferee is the result ofa de facto merger
23     between the transferor and the transferee, or declares the transferee to be "mere
24     continuation" ofthe transferor.? Under the defacto merger basis, a court re-
25     characterizes an asset transfer as though it were a statutory merger oft~~ transferor
26     with the transferee because the transferee is, in substance, indistinguishable from
27     the transferor.' If the parties had cc plied with tie requisites for statutory merger,
28

                     PLAINTIFF'S VERIFIED F~FTR~'H AMENDED COMPLAINT
                                                  88
     Case 8:17-cv-01386-DOC-KES Document 238 Filed 10/12/18 Page 89 of 100 Page ID
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 i    the merger statute would have treated the surviving entity as having acquired the
 2    transferor's assets and liability.9 As one court noted,"[w]hen the form ofthe
 3    transfer does not accurately portray substance, the courts will not refrain from
 4    deciding that the new organization is simply the older one in another guise."
 5          ...footnote 43. Upon avoidance, the transferee must relinquish the transferred
 6
      assets or their value to the challenging creditor. See generally CHARLES
      JORDAN TABB,THE LAW OF BANKRUPTCY 331 (1997). 44.(Plaintiff is the
 8
      challenging Creditor)
 9

10
            B.The 49 State National Mortgage Settlement was to resolve servicing
Zi
      violations. To review the settlement documents for each servicer, go
12
      to www.NationalMort~a~eSettlement.com. The chart below summarizes how
13
      states allocated their share ofthe settlement funds...."Although the settlement
14
      resolves some violations, the federal government and state attorneys general did
15
      not release all the potential claims against these five servicers. The federal
16
      government and states can still pursue criminal prosecutions for criminal offenses
i~
      and violations of the fair lending laws based on discriminatory conduct.
18

19
      Securitization claims based on the offer, sale or purchase of mortgage securities are

20
      not released by the settlement. The states also did not release any potential claims

21    against Mortgage Electronic Registration Systems,Inc., MERSCORP,Inc. or any'

22    tax claims relating to real estate transfer taxes. Mortgage borrowers can still file
23    claims on an individual or class action basis."
24
             C. McGinnis v. American Home Mortgage Servicing, Inc., No. 14-13404
25   (11th Cir. 2018)Plaintiff does not want more time to pass to get the remedy she
26    deserves. In This case of McGinnis she had been awarded her jury win in 2014 and
      it took 4 years for the appeals court to rule in McGinnis's favor, again. Appeal
27

28

                    PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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      ruling forced the Defendants in her case to perform and settle the case as she was
      awarded.

              D.Property Title Trouble in Non-Judicial Foreclosure States: The Ibanez
      Time Bomb? Plaintiff references this as fact she has no contract and there is no
      assignment of a contract involving her or her property to the purported CWALT
      2007-HY9 Trust as falsely identified on her property title.
      https://scholarship.law.wm.edu/cgi/viewcontent.cgi?referees-https://www.google.co
      m/&httpsredi~1&article=1049&context=wmblr
      ..." In a typical private mortgage loan securitization, each mortgage loan is sold,
      assigned, or otherwise transferred to a trust through a series of steps and parties,
      starting with the lender and ending with the trustee. The trustee hires a servicer to
      collect on the loans, maintains the payment records, and selects foreclosure
io    attorneys in the event of defaults. A document custodian usually stores the notes
      and mortgages on the trustee's behalf. Applicable state law and the terms ofthe
11    transaction contracts govern the travel route and the documentation necessary to
IZ    transfer the mortgage loans legally from one party to the next. The sloppiness and
      outright fraud e~ibited by parties to the securitization deals contributed to a
13
      breakdown in the transfer ofthe mortgage loans from one entity to the next along
14    the route, resulting in serious concerns about who possesses the authority to
15
      foreclose in the event of a homeowner default. This behavior is documented in
      federal and state court decisions, the findings of a state's attorney general and a
16    city recorder office's investigation, studies by law professors, news reports,
1~    Congressional testimony, and shareholder lawsuits... What follows in Sections A
      and B ofPart I is a sample ofthat evidence.
18

19
   A. Inadequate Documentation; "The federal courts in Ohio were among the first to
   question standing in numerous foreclosure actions when plaintiffs could not
Zo produce relevant documents demonstrating they possessed the right to enforce the
21 mortgage loans at the time of filing the action."... "As Professor Whitman posits,
   "[w]hile delivery ofthe note might seem a simple matter of compliance,
22
   experience during the past several years has shown that, probably in countless
23 thousands of cases, promissory notes were never delivered to secondary market
   investors or securitizers, and, in many cases, cannot presently be l~~ated at all."
24
            Plaintiff brings attention to a footnote to A. regarding court testimony of
25
      Countrywide employee Linda DeMartini who gave testimony that the notes and
26    deeds of trust were destroyed and did not transfer as required. The case as a
27
      footnote is the case of Kemp v. Countrywide Home Loans(In re Kemp),440 B.R.
      624,628(Bankr. D.N.J. 2010)(discussing the testimony of Linda DeMartini
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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      regarding the transfer ofthe note to the trust pursuant to the securitization
      documents). Bank of America purchased Countrywide in early 2008, making
      Linda DeMartini a Bank of America employee when she testified. Bank of
      America to Acquire Countrywide, MSNBC.COM (Jan. 11, 2008),
      http://www.msnbc .msn.com/idJ22606833/ns/business-real_estate/t/bank-america-
      acquire-countrywide.
      Plaintiff also referenced this case in her 2014 Reconciliation and Audit of Records
      she sent to all the Defendants their assigns and representatives then and numerous
      times over the years since. It is an e~ibit in her filing known as her "Declaration
      in Support ofPreliminary Injunction" she took to the court for filing on September
      14 where it was merely stamped as received and again on September 27, 2018
      where it was filed in her Notice of Reminder to the court of Documents received
      and not filed.
io
i~          E. TRINSEY vs. PAGLIARO
     In the Supreme Court ofPennsylvania decision; Trinsey vs. Pagliaro, D.C.Pa.
12   1964,229 F. Supp.647....
13   "Statements of counsel in brief or in argument are not facts before the court and are
     therefore insufficient for a motion to dismiss or for summary judgment."
14

15          F.F.A.C.T. Report by Paris Dube; See e~ibit"Z "attached
16
             G.In Bank of New York Mellon Trust Company v. Dennis M. Conley,
17    4D14- 2430(Fla. 4th DCA Jan. 6, 2016), Florida's Fourth District Court of Appeal
      clarified the methods by which a foreclosure plaintiff can seek to enforce a note
18
      indorsed to another party. Specifically, the court held that,"[w]here a bank is
19    seeking to enforce a note which his specially indorsed to another, the bank is a
Zo    nonholder in possession." The court went on to hold that in order to prove standing
      as anon-holder the plaintiff must provide proof of an effective transfer, purchase
21    ofthe debt, or a valid assignment. In Conley, the court held the foreclosing
22    plaintiff did none ofthese things. Specifically, the court held that "there is nothing
      in the record connecting the indorsee, JP Morgan Chase Bank,to the Plaintiff, the
23
      Bank of New York Mellon."..." More often than not the evidence necessary to
24    establish standing as a nonholder will require more than just the pooling and
      servicing agreement. The opinion in Conley is the latest in a series of opinions
25
      from the Fourth DCA to find against Plaintiffs where the pooling and servicing
26    agreement was admitted, but the document referenced predecessors to the current
2~
      players acting as trustee, servicer, custodian, etc. See also Murray v. HSBC Bank
      USA, 157 So. 3d 355 (Fla. 4th DCA 2015). If such evidence cannot be located, it is
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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     best to seek to procure the necessary indorsements before filing the foreclosure so
     that standing can be demonstrated by the more simple proofs necessary to establish
     standing as a holder." See link
     https://mortgagefraudexaminers.com/caselaw/foreclosure/PROOF%20REQUIRED
     %20T0%20ENFORCE%20PROMISSORY%20NOTE%20SPECIALLY%20IND
     ORSED%20T0%20ANOTHER.pdf
     Plaintiff contends that Select Portfolio Servicing, Inc. claims to be the beneficiary
     as Holder in Due Course under the Bank of New York Mellon as Trustee, but
     BONYM denies owning the title or a loan on the property and Plaintiff already
     proved through confirmation on or about February 2016 that there is no genuine
     note held by SPS. See Exhibit "CC"-"HH" documents of escrow & E~iibit "JJ "
     Gavin Tsang emails)

to
ii         H.HOLDER IN DUE COURSE.> U.C.C. Article 3 =NEGOTIABLE
     INSTRUMENTS(2002). PART 3. ENFORCEMENT OF INSTRUMENTS
12   https://wwwlaw.cornell.edu/ucc/3/3-302
13   § 3-302. HOLDER IN DLTE COURSE.
14      (a) Subject to subsection (c)and Section 3-106 d ,"holder in due course"
         means the holder of an instrument if:
15
          (1)the instrument when issued or negotiated to the holder does not
16
           bear such apparent evidence offorgery or alteration or is not otherwise
i~         so irregular or incomplete as to call into question its authenticity; and
18        (2)the holder took the instrument(i) for value,(ii) in good faith,(iii)
19
           without notice that the instrument is overdue or has been dishonored or
           that there is an uncured default with respect to payment of another
Zo         instrument issued as part ofthe same series,(iv) without notice that the
21         instrument contains an unauthorized signature or has been altered,(v)
           without notice of any claim to the instrument described in Section 3-
22
           306, and (vi) without notice that any party has a defense or claim in
23         recoupment described in Section 3-305 a .
24
            I.THE PEOPLE OF THE STATE OF CALIFORNIA,Plaintiff, v.
25
     COUNTRYWIDE FINANCIAL CORPORATION et al. Case # LC081846 The
26   Honorable Carl J. West presiding.
27
     https://oag.ca.goy/system/fileslattachments/press releases/n2031 _countrywide_co
     mplaint.pdf
28

                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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            J. Plaintiff filed concurrent as supporting this brief her Request for Judicial

     Notice ofDocuments and the E~ibits all support and include more facts and law

            K.BANA vs. GRISEL REYES-TOLEDO,SCWC-XX-XXXXXXX
     CERTIORARI TO THE INTERMEDIATE COURT OF APPEALS(CARP-15-
     0000005; CIVIL NO. 12-1-0668) OCTOBER 9, 2018in the Supreme Court in the
     State of Hawaii. Griesel prevailed on appeal. Bank of America, N.A. was tied back
     by merger to Countrywide and Griesel won on appeal of her claims that Bank of
     America, N.A. had no standing,(very similar to this case herein) see link.
     https://www.casemine.com/judgement/us/599ffdd 1 add7bO5defc9b3fl9

io
11
            L. LEGAL STANDING

12
     Plaintiff claims she has standing as she has met the burden of establishing her
     injuries are a direct act by third parties and that the injuries are continuing until
13   Plaintiff is awarded the remedy she seeks. Plaintiff believes her claims are
14   comprehendible when explained through her evidence, further discovery and cross
     examination of Defendants, so that any man or woman as a juror would find
15
     reasonable to a decision being made favorable to Plaintiff.
16
     FEDERAL PRACTICE MANUAL(known herein as "FPM")
i~
     http://www.federalpracticemanual.org/chapter3/section13.1.A. Overview
18
     The law of standing has its roots in Article III's case and controversy
19   requirement.l The U.S. Supreme Court has established athree-part test for
20
     standing. The "irreducible constitutional minimum of standing" requires the
     plaintiff to establish:
21

22   3.1.A. Overview(FPM)

23   First ... an "injury in fact"—an invasion of a legally protected interest which is(a)
     concrete and particularized, and(b)"actual or imminent," not "conjectural" or
24
     "hypothetical." Second,there must be a causal connection between the injury and
25   the conduct complained of—the injury has to be "fairly ... trace[able] to the
     challenged action ofthe defendant, and not ... th[e] result [off the independent
26
     action of some third party not before the court." Third, it must be "likely," as
27   opposed to merely "speculative," that the injury will be "redressed by a favorable
28
     decision."2
                   PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
                                               93
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      Judge Carter already said this case is compensable at the hearing on November 2,
      2017, and then on July 30, 2018.
      Constitutional Standards: Injury in Fact, Causation, and Redressability.
      Of increasing importance are causation and redressability, the second and third
      elements of standing, recently developed and held to be of constitutional requisite.
      There must be a causal connection between the injury and the conduct complained
      of; that is, the Court insists that the plaintiff show that "but for" the action, she
      would not have been injured. And the Court has insisted that there must be a
      "substantial likelihood" that the relief sought from the court if granted would
      remedy the harm.

             The Defendants severe injuries caused against Plaintiff can be remedied in
10    redress ofthese injuries. Plaintiff is seeking the return of all her property and
li    financial remedy to return her equity and property, to include anything known and
      unknown at this time ie:, use ofBILLIE RENE POWERS identity to procure
12    payouts from escrows, property taxes, default insurance claims by Defendants,
13    derivative and alleged securities gains by Defendants through unclean hands taking
      that which belongs to Plaintiff as the real party of interest and creditor. Redress of
14
      these injuries will cure the Plaintiffs damages as she is given the ruling with
15    Prejudice against Defendants.
16
             Plaintiff proves she has standing for redress of her damages and her remedy
l~    is sought with standing to proceed. In the event remedy is not awarded Plaintiff her
      injuries continue as she has been made homeless, her family belongings, cherished
18
      pictures and family memories, her children without their inheritance as interested
19    parties as heirs in succession and her entire estate taken from her through these
20
      actions by Plaintiffs, unless remedy is awarded these injuries continue. Causation
      and redressability are distinguishable and Plaintiff proves the injuries she sustained
21    are directly caused by Defendants and continue.
22
      In addition to showing an injury-in fact, plaintiff must also show "causation" and
23    "redressability." In other words, plaintiff must show that defendant is the "cause" of the
      injury, and that the injury will be redressable by a favorable judicial decision.
24

25    CONCLUSION RELIEF BEING SOUGHT AND GROUNDS FOR THIS
      MOTION
26
      177. Plaintiff, as the Real Party ofInterest &Holder in Due Course, seeks relief for
2~
      the damages inflicted upon her by the Defendants who conspired together in
28

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 i    actions as debt collectors, with other labels and titles, to give a presumed standing
 2    for them to separate Plaintifffrom her property. Plaintiff brings this case with
 3    legally sufficient claims. She seeks financial relief, the return of her private
 4    residential real property, our family personal belongings, furnishings, her heirs
 5    inheritance and to correct the theft oftheir property through accounts offalse
 6
      claims and unclean hands ofthe Defendants.
            Plaintiff claims that as a result of defendants' acts and misrepresentations,
 8
      she and her family been deprived ofthe use, possession, and value of our property;
 9
      have lost the funds, over $510,000,000.00, that she invested in the purchase down
io
      payment ofthe private residential real property; and the payments made to debt
it
      collectors, by her directly or on our behalf, in excess of$400,000.00 and have lost
12
      the funds, time, and labor that she invested in rehabilitating the property after
13
      purchase, in excess of $400,000.00 over the 10 years and 2 months Plaintiff had
14
      possession ofthe property and lived on it prior to the violent lock out on
15
      September 21,2017. i bring these 5 causes of actions as grounds to move forward;
16
      CONSPIRACY; VIOLATIONS OF HOMEOWNERS BILL OF RIGHTS HBOR;
i~
      PROMISSORY ESTOPPEL;BREACH OF CONTRACT; UCL.
18

19
            Plaintiff bring these causes with merit and through the best of her ability as

20
      a Pro Per claimant with no legal training. She demonstrates to the court that she

ai    has standing and brings her claim with merits, where Defendants have no standing

22    and are uttering false claims.
23          This motion is filed due to Commonwealth Land Title Insurance Company
24    not giving Plaintiff what she paid for in her Title Policy, protection from theft of
25    title and to insure her purchase of her home was free offalse claims against her
26    title. With knowledge ofthe evidence all Defendants knowingly proceeded against
2~    Plaintiff, conspiring together to complete the taking of her property, equity and the
28

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 i    estate with her heirs in succession also harmed. Plaintiff claims this to be a huge
 a    ponzi scheme of misconduct and intentional theft.
 3          When Plaintifffound, including but not inclusive of, the forgeries ofthe
 4    purported April 2007 grant deed and the void assignment of Corporate Deed of
 5    Trust notarized by Jon Secrist, and the one including Ahmad Afzal, she found she
 6
      has no legal easement and was sold a landlocked title policy. Plaintiff reached out
      to have the Title Insurance policy enforced. She found through due diligence and
 8
      research ofthe 49 State National Mortgage Settlement, among others related to the
 9
      Defendants involvement, that what she thought was a contract was void ab initio
io
      and as such she sought out all Defendants who sent debt collection letters,
i~
      including threats of legal actions and taking her private residential real property.
12
            Plaintiff contacted Defendants separately and due to the lack of offering her
13
      the remedy to evidence and claims she must bring these defendants and their
14
      accomplices, known and unknown at this time, forward to remedy her severe
15
      injuries caused. Her evidence proves the injuries caused have been and continue to
16
      be intentionally inflicted by the malicious hands ofthe Defendants.
i~
            This motion is filed to find additional answers, who is the alleged "lender"
18

19
      that gave authority to all actions against the Contract? Defendants as alleged

20
      assigns or representatives of "Countrywide Bank,FSB", Where is the authority for

21    that lender to lend Plaintiff any credit? Under what authority does the "lender" do
22    business in California? Where is the required Cash Collateral Deposit equal to
23    100% ofthe alleged loan of $1.190,000.00? Without a an assignment to a genuine
24    contract or note how can any Defendant claim to be a "Holder in Due Course" to
25    take Plaintiffs property? How can Defendants claim no knowledge or liability to
26    origination ofthe contract but feel entitled to create false documents and claims to
27    enforce it?
28

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 1            "In commerce, truth is sovereign."' Thus, Plaintiff appreciate the court's
 2    request fora 4th amended complaint, as it will simplify future proceedings due to
 3    newly discovered evidence from this matter's recently completed disclosures and
 4    discovery process.
 5            Plaintiff has exercised her right to disclosure and discovery since the day
 6
      of the signing of escrow documents; and as of October 8, 2018, they are all now
      complete. They lend further credence as to why, by Notarial Presentment,
 8
      Plaintiff in return defaulted the alleged first lender and Defendants; and did
 9
     "rescind" all the original and subsequent manufactured, transactional documents
Zo
      she autographed due to numerous misrepresentations and consequential breaches
11
      of contract. Said rescission does not require court action; however, a court can
12
      enforce a rescission's peaceful, fair and equitable resolution under the law; but
13
      especially where deceit and misrepresentation by a fiduciaries', wrongdoers'
14
      silence2 abundantly abounds.
15
              That default and rescission was perfected and filed years ago in the public
16
      record on JULY 2015.(See Exhibit "D")
l~
            This motion is filed through order of Judge Carters dated September 19,
18
      2018, where he allows fora 4th Amended Complaint. The Complaint is meant to
19
      bring the intent ofthe lawsuit and prove i have no contract or liability to any ofthe
ao    defendants, in fact the Defendants have liability to me for damages intentionally
      and maliciously inflicted. i thank the court for this opportunity to state the damages
21
      and the merits under which this case must move forward to a jury.
22
      California Constitution as written
23    SEC. 1.
24    All people are by nature free and independent and have inalienable rights. Among
      these are enjoying and defending life and liberty, acquiring, possessing, and
25

26    1 Biblical Maim of Law -See Exodus 20:16; Psalms 117:2; John 8:32; II Cor. 13:8.

27    z "Silence can only be equated withfraud when there is a legal and moral duty to speak or when an inquiry left
      unanswered would be intentionally misleading."U.S. v. Prudden,424 F2d. 1021, 1032(1970); cert. denied 400
28    U.S. 831. See also United States ofAmerica v. Robson,477 F.2d 13, 14,15(1973)9~ Circuit

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      protecting property, and pursuing and obtaining safety, happiness, and privacy.
      CALIFORr1IA CONSTITUTION ARTICLE 1 DECLARATION OF RIGHTS
      SEC. 7.(a)A person may not be deprived of life, liberty, or property without due
      process oflaw or denied equal protection ofthe laws;...
            Plaintiff has enough evidence of malicious and intentional injuries by the
      Defendants, thousands of pages a vast quantity of expert witnesses available to
      verify her claims. Jane Doe(previous federal government employee, over 35 years
      experience, who prosecuted and investigated financial criminals) is prepared to
      testify, under seal due to extenuating security needs,to the 1933 Banking Act, it's
      cause and effect. Jane Doe finds that "the lending industry has perpetuated the
      most sophisticated and arrogant fraud" using, to include but not inclusive of,
io    Plaintiff being a victim ofFINANCIAL CRIMES AGAINST HUMANITY and
ii    more facts she will prove to the jury.
IZ
             Jane Doe will bring solid evidence that i have no lawful contract and that the
      alleged debt is an unsecured account paraded as a "loan" and
13
      taking credits directly from me as purported borrower who is actually the creditor.
14
      Jane Doe has evidence to support my claims. When the rule oflaw is followed the
15    right party will prevail.
16          Plaintiff apologies to the court as she realizes this is a long claim but she has
i~    been accused by Defendants of not being clear on which Defendants did what and
      why they are liable to her and therefore she did her best to remedy that accusation
18    against her. She prays this claim, although not professional, will been seen as
19    having the merits to go forward to the jury and realizes that the court game the
      Defendants play is not one of bringing truth, but one like a checkers game ~i~d just
20
      winning at all cost and the Plaintiff should not have that cost her life.
21

22
      REQUEST FOR RELIEF

23           WHEREFORE,Plaintiff prays for relief and judgment, as follows:

24       1. Plaintiff is the Real Party ofInterest, fee simple owner of all rights, title, and
25          interest in and to the described private residential real property;
26       2. Defendants do not have any lawful right, title, estate, or interest in or lien on
27          the described real property;
28

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 i        3. Return of possession of Plaintiffs home,land and family belongings
 2        4. Actual Damages in a sum according to proof, but not less than
 3            $30,400,000.00.
 4        5. Special Damages in an amount to be determined by proof at trial;
 5
          6. General Damages in an amount to be determined by proof at trial;
 6
          7. Punitive Damages in the sum, no less than $63,000,000.00;
          8. Restitution as allowed by law;
 8
          9. Reasonable Attorney's cost and expenses incurred in this action, including
 9
              counsel fees and expert fees; HBOR also allows for this request; and
io
          lO.Such other relief as the Court may deem just and proper.
11

12
          Plaintiffhereby demands a jury trial on all issues raised in this complaint.
13

14
       DATED             ~/     1J/        Respectfully and without rejudice,
15
                                           sub t~d.       ~'1 ~~ ~
16

17

18                                             Billie Rene' Frances Lillian Powers
19 ~
                                               PlaintiffPro Per

20

21

Zz                                       VERIFICATION
23           i am the Plaintiff in this action. i have read the foregoing Third Amended
24     Complaint, and it is true of my own knowledge, except as to those matters stated
25     on information or belief, and as to those matters, i believe it to be true.
26

27

28

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 i                    i declare under penalty of perjury under the laws of The united States
 2     of America, California State and the State of California that the foregoing is true
 3     and correct.
 4     Executed on _~,~1.     1~ ~ ~ ,2018 at                                 ~alifornia.
 5

 6

 7
                                         Billie Rene Frances Lillian Powers
 8
                                         Plaintiff Pro Per
 9

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                      PLAINTIFF'S VERIFIED FOURTH AMENDED COMPLAINT
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